                             Case 23-1246, Document 17, 09/25/2023, 3573100, Page1 of 41


                        UNITED STA TES COURT OF APPEALS FOR THE SECOND CIRCUIT
                            CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

       1. SEE NOTICE ON REVERSE                         2. PLEASE TYPE OR PRINT                         3. STAPLE ALL ADDITIONAL PAGES

 Case Caption:                                                          District Cou1t or Agency:                   Judge:

                                                                          SONY                                       MARY KAY VYSKOCIL
 JOHN DOE
                                                                        Date the Order or Judgment Appealed         District Coun Docket No.:
 vs.                                                                    from was Entered on the Docket:
                                                                                                                      23-1246
                                                                          08.18.23
 NEW YORK UNIVERSITY
                                                                        Date the Notice of Appeal was Filed:        ls this a Cross Appeal?

                                                                                                                  O,es            □     No


 Attorncy(s) for       Counsel's Name:             Address:                    Telephone No.:                    Fax No.:                    E-mail:
 Appcllant(s):
                       Norman A. Pattis 383 Orange St.                      203-393-3017                   203-393-9745 npattis@
J
x lainLiff                              New Haven, CT                                                                   pattislaw.com
:=]Defendant                            06511


 Attorncy(s) for       Counsel's Name:             Address:                    Telephone No.:                    Fax No.:                    E-mail:
 Appellee(s):
                       Jeffrey Metzler         131 West 52nd St. 212-588-1153                              212-602-0159
:=Jr1aintiff                                   New York NY
□ x Defendant
                                               10019                                                                     jeffreymetzler@
                                                                                                                         pillsburylaw.com

 Has Transcript
 Been Prepared?
                       Approx. Number of
                       Transcript
                                               Number of
                                               Exhibits
                                                                      Has this matter been before this Circuit previously? Oves              □x   No

                       Pages:                  Appended to            If Y cs, provide the following:
 no transcript                                 Transcript:
                                   -0-                                Case Name:
                                                        -0-
                                                                      2d Cir. Docket No.:                Reporter Citation: (i.e., F.3d or Fed. App.)


  ADDENDUM "A": COUNSEL MUST ATTACH TO THIS FORM: (I) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
   NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
  THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
          THIS APPEAL, INCLUDING TRANSCRIPTS 01< ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

  ADDENDUM "B": COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
          AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                              PART A: JURISDICTION

                    I . Federal JurisdicLion                                                2. Appellate Jurisdiction

   □    U.S. a party               D Diversity                    □
                                                                  x      Final Decision                  D Order Certified by(District Judge (i.e.,
  □x     Federal question
        (U.S. not a paity)
                                   D Other (specify):             □      lnterlocuto1y Decision
                                                                         Appealable As of Right
                                                                                                               Fed. R. Civ. P. 54 b))

                                                                                                         D Other (specify):
                             IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.
FORM C (Rev. October 2016)
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                                             PART B: DISTRICT COURT DISPOSITION                            (Check as many as apply)


  I. Stage of Proceedin~s                                  2. Type or Judgmenl/Order A[)~ealed                                               3. Relief

§x       Pre-trial                  □ Default      judgment                  -,__
                                                                              Dismissal/other jurisdiction            x Damages:
                                                                                                                      D                                     D Injunctions:
         During tria l
         After trial
                                    □ Dilacksmiofssal/FRCP  12(b)(l)
                                                   subject matter juris.
                                                                             ,__
                                                                              Dismissal/merit
                                                                             Ju<.lgmcnt / Decision of the Court
                                                                               x
                                                                                                                       §        Sought: $    TBD            §      Preliminary
                                    □ Dismissal/FRCP 12(b)(6)
                                    D
                                      failure to state a c laim
                                                                        '-

                                                                               -
                                                                              Summary judgment
                                                                         ,__ Declaratory judgment
                                      Dismissal/28 U.S .C . § 19l5(c)(2) ,__ Jury verdict
                                                                                                                                Granted:$ _ _ _
                                                                                                                                Denied: $ _ _ _
                                                                                                                                                                   Permanent
                                                                                                                                                                   Denied

                                      frivolous complaint                ,__ Jud gment NOV
                                    D Dismissal/28 U.S.C . § l915(e)(2) I - Directed verdict
                                      other dismissal                        Other (specify):




                                                               PARTC: NATURE OF SUIT (C heck as many as apply)

  1. Federal Statutes                                                                          2 . Torts                3. Conlracts                4. Prisoner Petitions

 B
 Fl
         Alllilrusl
         Bankruptcy       -
                              =Commo,iea,ioos
                               Consumer Protection
                                                         ~ Immigration
                                                           '""'"" of lofomm•ioa A<>           □ Admiralty/
                                                                                                Maritime
                                                                                                                       D
                                                                                                                       B       A<.lmirahy/
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                                                                                                                                                  -...... Civi l Rights
                                                                                                                                                   ....   Habeas Corpu s
         Banks/ Banking _      Copyright □ Palcnt             Labor                           O Assauh /                   Arb itration
                                                                                                                                                  --      Mandamus


 ~
         Civil Rights
         Cmom,,,,
         Energy
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                               Trademark
                               Election
                          '.:: Soc . Security
                                                              OSI-IA
                                                              Securi1ies
                                                              Tax
                                                                                              D Defamation
                                                                                                FELA
                                                                                              □ Producls Liability
                                                                                                                       §   Commercial
                                                                                                                               Employment
                                                                                                                               Insurance          ---
                                                                                                                                                          Parole
                                                                                                                                                          Vacate Sentence
                                                                                                                                                          Other
         Commodilics      ,__ Environmental                                                   D Other (Specify):           Negotiable
                                                                                                                                                  '---

         Other (specify):                                                                                                Instruments
                                                                                                                       0   Other Specify

 5~                                                                  6. General                                         7. Will appeal raise constitutional issue(s)'/

  ----
     Hague lnt'I Chil<.I Custody Conv.
     Forfeiture/Penalty
                                                                      ~
                                                                          Arbitration
                                                                      ,__ Attorney Disqualification
                                                                                                                          O Ycs               x
                                                                                                                                             O No




  --
 ,__ Real Property                                                        Class Action                                     Will appeal raise a matter of first


                                                                      --
     Trealy (specify):                                                    Counsel F ccs                                    impression''
     x                        Title IX
                                                                                                                           x Ycs
     Other (specify):                                                     Slrn reho lder Derivative
                                                                          Transfer                                         O                  □ No

  I. Is any matter relative to this appeal still pending below? 0                   Yes, specify:                                                   x
 2. To your knowledge, is there any case present ly pending or about Lo be brought before this Court or another court or administrative agency
    which :
        (A)   Arises from substantially the same case or controversy as this appeal ?                  0 Yes                 0 No                    x
              (B)        Involves an issue that is substantially similar or related to an issue in this appea l?                                      x
 If yes, state whether □ "A ," or □ "B," or □ hoth arc appl icable, and provide in the spaces below the following infonnation on the other action(s):

 Case Name:                                                       Docket No.                  Cilalion :                               Court or Agency:
         JOHN DOE
 Name of Appellant :


 Da1e: September 25, 2023                                           Signatu re of Counsel of Record:




                                                                           NOTICE TO COUNSEL
Once you have filed yo ur Notice of Ap pea l wit h the Distri ct Court or the Tax Court, yo u have only 14 days in whic h to complete th e following
important steps:
 1. Complete this Civil Appeal Pre-Argument Statement (Form C); serve it upon all parties, and tile it with the Clerk of the Second Circuit in accordance
 with LR 25.1 .
 2. Fi le the Court of Appeals Transcript Infonnation/Civil Appeal Fonn (Fonn D) with the C lerk or the Second Circuit in accordance with LR 25.l.
 3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court un less you are authorized to
 prosecute the appeal without payment.

              PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
              DI SMISSED. SEE LOCAL RULE 12.1 .

FO RM C (Rev. December2016)
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                                         ADDENDUM A
      I.        Brief Statement of the Case
    This is an action arising from the expulsion of John Doe, who was a student at New
York University. While enrolled, Mr. Doe and a female student interacted in a way that
led the female student to complaint that she had been harassed. The university opened
a Title IX investigation pursuant to university policies and procedures . John Doe had a
faculty advisor. Doe contends the advisor advised Doe not to file a cross complaint
against the young woman at issue. Doe believes that she, too, had harassed him in
violati.on of university policies and procedures. Doe contends the advisor told him the
case against him would not result in his explusion and that if Doe were to complain
about the young woman it would simply make a tense situation worse. In reliance on the
advice of the advisor, Doe did not file a complaint. He was expelled. When he then
sought to raise a complaint against the young woman, he was told it was too late to do
SO.

      The case will proceed on appeal on theories similar to other Title IX cases
pursued in this and other circuits. The contention will be that the advice of the advisor
was the functional equivalent of ineffective assistance of counsel. The advisor
misadvised him, to his detriment. This is an issue of first impression .
       The undersigned is litigating similar issues involving the scope of due process
afforded students in Title IX cases in a case currently sub judice in the Circuit. Kahn v.
Yale, 21-cv-95. See also, Kahn v. Yale, 347 Conn. 1 (2023) .

      II.       Disposition in the District Court
      The District Court entered summary judgment in favor of the defendant on
August 18, 2023.
      Ill.      Notice of Appeal and District Court Docket Sheet
             See attached.
      IV.       Relevant Order
             See attached.
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                             ADDENDUM 8


I.    Preliminary Issues to be Raise on Appeal and Standard(s) of Review


      A. Whether the Trial Court Erred in Granting Summary Judgment to the
         Defendant as There Were Disputed Issues of Material Fact Sufficient
         to Warrant a Jury Trial Regarding Bad Advice Given to a Student About
         His Rights in a Title IX University Disciplinary Process?


          Standard of Review: De novo.

      B. Whether in the Context of a Title IX Investigation of Harassment in a
         University Setting a "Faculty Advisor" Can Provide "Ineffective
         Assistance of Counsel" Sufficient to Deprive a Student of Due
         Process?

         Standard of review: De novo.
        Case 1:20-cv-01343-MKV
          Case  23-1246, DocumentDocument  124 Filed
                                  17, 09/25/2023,     09/08/23
                                                  3573100,     Page
                                                           Page5 of 411 of 2



                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


JOHN DOE,
        Plaintiff,


        v.


 NEW YORK UNIVERSITY,
        Defendant.

                                                       ·I :20-cv-0 1343-MKV




                                     NOTICE OF APPEAL

       The Plaintiff, John Doe, hereby gives notice that he appeals the Court's judgment,
entered on Aug. 18, 2023, upon the granting of summary judgment, to the United States Court
of Appeals for the Second Circuit.
                                                               THE PLAINTIFF

                                                         By:   Isl Norman A. Pattis
                                                               Norman A. Pattis
                                                               Pattis & Associates, LLC
                                                               383 Orange St., Fl. I
                                                               New Haven, CT 065 I I
                                                               Tel: (203) 393-3017
                                                               Fax: (203) 393-9745
                                                               npattis@pattislaw.com

Dated: September 8, 2023
         Case 1:20-cv-01343-MKV
           Case  23-1246, DocumentDocument   124 Filed
                                   17, 09/25/2023,     09/08/23
                                                   3573100,     Page
                                                            Page6 of 412 of 2




                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2023 a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by the Court's electronic
filing system. Parties may access this filing through the Court's CMIECF system.


                                                                       Isl Norman A Pattis
                                                                       Norman A Pattis




                                                   2
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                                                                                                         CLOSED ,APPEAL,ECF

                                                U.S. District Court
                                    Southern District of New York (Foley Square)
                                 CIVIL DOCKET FOR CASE#: 1 :20-cv-01343-MKV


  Doe v. New York University                                                         Date Filed: 02/14/2020
  Assigned to: Judge Mary Kay Vyskocil                                               Date Terminated: 08/ 18/2023
  Cause: 20: 1681 Title IX Educational Amendments 1992 - Sex                         Jury Demand: Both
  Discrimination                                                                     Nature of Suit: 448 Civil Rights: Education
                                                                                     Jurisdiction: Federal Question

  Plaintiff
  John Doe                                                               represented by Kimberly C. Lau
                                                                                        Warshaw Burstein LLP
                                                                                        575 Lexington Avenue
                                                                                        7th Floor
                                                                                        10022
                                                                                        New York, NY 10022
                                                                                        212-984-7700
                                                                                        Fax: 212-972-9150
                                                                                        Email: klau@wbny.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                     Norman Alexander Pattis
                                                                                     Partis & Smith, LLC
                                                                                     383 Orange Street
                                                                                     1st Floor
                                                                                     New Haven, CT 06511
                                                                                     203-393-3017
                                                                                     Fax: 203-393-9745
                                                                                     Email: npattis@pattissmith.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     James Edward Figliozzi
                                                                                     Warshaw Burstein LLP
                                                                                     575 Lexington Avenue
                                                                                     7th Floor
                                                                                     10022
                                                                                     New York, NY 10022
                                                                                     212-984-7700
                                                                                     Fax: 212-972-9150
                                                                                     Email: jfigliozzi@wbny.com
                                                                                     ATTORNEY TO BE NOTICED


  V.
  Defendant


https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt. pl? 159799854607811-L_1_ 0-1                                                         1/18
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  New York University                                                     represented by Jeffrey Metzler
                                                                                         Pillsbury Winthrop Shaw Pittman LLP
                                                                                         3 1 West 52nd Street
                                                                                         New York, NY 10019
                                                                                         212-858-1000
                                                                                         Email: j effrey.metzler@pillsburylaw.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Max Winograd
                                                                                         Holland & Knight LLP
                                                                                         31 West 52nd Street
                                                                                         New York, NY 10001
                                                                                         212-858-1246
                                                                                         Email: max.winograd@pillsburylaw.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Melissa Pettit
                                                                                         Pillsbury Winthrop Shaw Pittman LLP
                                                                                         31 West 52 Street
                                                                                         New York, NY 100 19
                                                                                         212-858-1284
                                                                                         Email: melissa.petti t@pills bury law.com
                                                                                         TERMINATED: 01/ 14/2023


  Date Filed               #     Docket Text
  02/18/2020                     ***NOTICE TO ATTORNEY TO FILE CIVIL INITIAL PLEADING. Notice to
                                 Attorney Kimberly C. Lau to electronically file the initial pleading in this case.
                                 Failure to file the initial pleading may result in the dismissal of the case pursuant to
                                 Amended Standing Order 15-mc-00131. Initial Pleading due by 2/24/2020. {pc)
                                 (Entered: 02/18/2020)
  02/1 8/2020                    ***NOTICE TO ATTORNEY TO ELECTRONICALLY FILE CIVIL COVER
                                 SHEET. Notice to Attorney Kimberly C. Lau. Attorney must electronically file the
                                 Civil Cover Sheet. Use the event type Civil Cover Sheet found under the event list
                                 Other Documents. (pc) (Entered: 02/18/2020)
  02/18/2020                1 COMPLAINT against New York University. (Filing Fee$ 400.00, Receipt Number
                                 ANYSDC-l 883 l 522)Document filed by JOHN DOE ..(Lau, Kimberly) (Entered:
                                 02/18/2020)
  02/ 18/2020               2. CIVIL COVER SHEET filed .. (Lau, Kimberly) (Entered: 02/18/2020)
  02/18/2020                l    REQUEST FOR ISSUANCE OF SUMMONS as to New York University, re: 1
                                 Complaint. Document filed by JOHN DOE .. (Lau, Kimberly) (Entered: 02/18/2020)
  02/18/2020                ± MOTION to Substitute Party. Old Party: New Party: John Doe. Document filed by JOHN
                                 DOE .. (Lau, Kimberly) (Entered: 02/ 18/2020)
  02/ 18/2020               2 MEMORANDUM OF LAW in Support re : ± MOTION to Substitute Party. Old Party:
                                 New Party: John Doe . . Document filed by JOHN DOE. (Attachments: # 1 Text of
                                 Proposed Order).(Lau, Kimberly) (Entered: 02/ 18/2020)
  02/19/2020                     ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                                 attorney Kimberly C. Lau. The party information for the following party/parties
                                 has been modified: Kimberly C. Lau. The information for the party/parties has been
https ://ecf. nysd .uscourts.gov/cgi-bin/Dk1Rpt.pl?159799854607811-L_ 1_0-1                                                          2/ 18
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                               modified for the following reason/reasons: party name was entered in all caps;. (pc)
                                 (Entered: 02/19/2020)
  02/19/2020                     ***NOTICE TO ATTORNEY REGARDING CIVIL. CASE OPENING
                                 STATISTICAL ERROR CORRECTION: Notice to attorney Kimberly C. Lau. The
                                 following case opening statistical information was erroneously selected/entered:
                                 Cause of Action code 20:1681; Fee Status code due (due);. The following
                                 correction(s) have been made to your case entry: the Cause of Action code has been
                                 modified to 28:1331; the Fee Status code has been modified to pd (paid);. (pc)
                                 (Entered: 02/19/2020)
  02/19/2020                     CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                                 assigned to Judge Gregory H . Woods . Please download and review the Individual
                                 Practices of the assigned District Judge, located at
                                 htms://nysd.uscourts .gov/judges/distiict-judges . Attorneys are responsible for providing
                                 com1esy copies to judges where their Individual Practices require such. Please download
                                 and review the ECF Rules and Instructions, located at httP-s:1/nysd.uscourts .gov/rules/ecf-
                                 related-instructions ..(pc) (Entered: 02/19/2020)
  02/19/2020                     Magistrate Judge Gabriel W. Gorenstein is so designated. Pursuant to 28 U .S.C. Section
                                 636(c) and Fed. R. Civ. P. 73(b)(l ) parties are notified that they may consent to proceed
                                 before a United States Magistrate Judge. Parties who wish to consent may access the
                                 necessary form at the following link: httP-s: //nysd.uscourts .gov/sites/default/files/2018-
                                 06/AO-3.P-df. (pc) (Entered: 02/ 19/2020)
  02/ 19/2020                     Case Designated ECF. (pc) (Entered: 02/ 19/2020)
  02/ 19/2020               .6   ELECTRONIC SUMMONS ISSUED as to New York University.. (pc) (Entered:
                                 02/ l 9/2020)
            '
  02/ 19/2020               1    NOTICE OF APPEARANCE by James Edward Figliozzi on behalf of John Doe ..
                                 (Figliozzi, James) (Entered: 02/19/2020)
  02/21/2020                .a NOTICE OF INITIAL PRETRIAL CONFERENCE: This case has been assigned to me
                                 for all purposes. It is hereby ORDERED that counsel for all parties appear for an initial
                                 pretrial conference with the Court at the time and place listed below. DUE DATE OF
                                 JOINT LETTER and PROPOSED CASE MANAGEMENT PLAN: May 8, 2020. DATE
                                 AND PLACE OF CONFERENCE: May 15 , 2020 at 4:00 p.m. in Courtroom 12C of the
                                 United States District Court for the Southern District of New York, Daniel Patrick
                                 Moynihan U.S . Courthouse at 500 Pearl Street, New York, New York, 10007. And as set
                                 forth herein. SO ORDERED. Initial Conference set for 5/ 15/2020 at 04:00 PM in
                                 Courtroom l 2C, 500 Pearl Street, New York, NY I 0007 before Judge Gregory H . Woods.
                                 (Signed by Judge Gregory H. Woods on 2/21/2020) (ama) (Entered: 02/21/2020)
  02/21/2020                2. ORDER: On February 14, 2020 , Plaintiff filed a motion for an order granting Plaintiff
                                 leave to proceed in this action under a pseudonym. Dkt. No. 4. If Defendant intends to
                                 oppose this motion, Defendant is directed to file its opposition by the earlier of May 1,
                                 2020 or two weeks after the date on which Defendant is served or appears in this action.
                                 Plaintiff is directed to serve acopy of this order on Defendant and to retain proof of
                                 service. SO ORDERED., ( Responses due by 5/ 1/2020) (Signed by Judge Gregory H .
                                 Woods on 2/21/2020) (ama) (Entered: 02/21 /2020)
  02/2 8/2020              lQ AFFIDAVIT OF SERVICE of Summons and Complaint. New York University served on
                                  2/2 1/2020, answer due 3/ 13/2020. Service was accepted by Ankita Chaudhary-
                                  Administrator, Legal Operations . Document filed by John Doe ..(Lau, Kimberly)
                                  (Entered: 02/28/2020)


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  03/04/2020             11 NOTICE OF APPEARANCE by Jeffrey Metzler on behalf of New York University..
                                (Metzler, Jeffrey) (Entered: 03/04/2020)
  03/04/2020             l1 LETTER MOTION for Extension of Time to respond to the Complaint until April I 0,
                                2020 and to respond to Plaintiffs Motion for Leave until Ma rch I 8, 2020 addressed to
                                Judge Gregory H. Woods from Jeffrey Metzler dated March 4, 2020. Document filed by
                                New York University.. (Metzler, Jeffrey) (Entered: 03 /04/2020)
   03/05/2020            .Ll. ORDER: granting 12 Letter Motion for Extension of Time. Application granted.
                                Defendant's opposition to Plaintiffs motion for an order granting Plaintiff leave to
                                proceed under a pseudonym, Dkt. No. 4, is due by March 18, 2020; Plaintiffs reply, if
                                any, is due one week following the date of service of Defendant's opposition. Defendant's
                                deadline to answer or otherwise respond to the Complaint, Dkt. No. 1, is extended to
                                April 10, 2020. SO ORDERED. (Signed by Judge Gregory H. Woods on 3/05/2020)
                                (ama) (Entered: 03/05/2020)
   03/05/2020                   Set/Reset Deadlines: New York University answer due 4/10/2020 . Responses due by
                                3/18/2020 (ama) (Entered: 03/05/2020)
   03/13/2020             14 LETTER addressed to Judge Gregory H. Woods from Jeffrey Metzler dated March 13 ,
                             2020 re : Defendant's decision not to oppose Motion for Leave to Proceed under a
                             Pseudonym. Document filed by New York University.. (Metzler, Jeffrey) (Entered:
                             03/ 13/2020)
   04/ 10/2020           12 LETTER MOTION for Conference addressed to Judge Gregory H. Woods from Jeffrey P.
                                Metzler dated April 10, 2020. Document filed by New York University.. (Metzler, Jeffrey)
                                (Entered: 04/10/2020)
   04/ 13/2020           16. ORDER granting 12 Letter Motion for Conference. Application granted. The Court will
                                hold a pre-motion conference call on April 16, 2020 at 4:00 p.m. The parties are directed
                                to the Court's Emergency Rules related to the COVID-19 pandemic, which are available
                                on the Court's website, for dial-in numbers for the conference and other relevant
                                information. Pre-Motion Conference set for 4/16/2020 at 04:00 PM before Judge Gregory
                                H. Woods. (Signed by Judge Gregory H. Woods on 4/13/2020) (cf) (Entered: 04/ 13/2020)
   04/ 15/2020           11 LETTER RESPONSE to Motion addressed to Judge Gregory H. Woods from James E.
                            Figliozzi dated April 15, 2020 re: 12 LETTER MOTION for Conference addressed to ·
                                Judge Gregory H. Woods from Jeffrey P. Metzler dated April 10, 2020 .. Document filed
                                by John Doe .. (Figliozzi, James) (Entered: 04/15/2020)
   04/ 16/2020                  Minute Entry for proceedings held before Judge Gregory H. Woods: Pre-Motion
                                Conference held via teleconference on 4/16/2020. (Daniels, Anthony) (Entered:
                                04/30/2020)
   04/ 17/2020            18    ORDER. Defendant's April 10, 2020 request for leave to file a motion to dismiss, Dkt.
                                No. 15, is granted. The deadline for Defendant to file and serve its motion to dismiss is
                                May 11 , 2020. Plaintiffs opposition is due three weeks after the date of service of
                                Defendant's motion; and Defendant's reply, if any, is due one week after the date of
                                service of Plaintiffs opposition. (HEREBY ORDERED by Judge Gregory H. Woods)
                                (Text Only Order) (Woods, Gregory) (Entered: 04/17/2020)
   05/01/2020             19    ORDER granting 1 Motion to Proceed under a Pseudonym. Plaintiff has moved to
                                proceed under a pseudonym. Dkt. No . 5. Defendant has not opposed the motion. Dkt. No .
                                14. Having considered the application of the factors identified by the Second Circuit in
                                Sealed Plaintiff v. Sealed Defendant, 53 7 F.3d 185(2d Cir. 2008), to the facts of this case
                                as set forth by Plaintiff in his motion, Plaintiffs motion is granted. (HEREBY ORDERED
                                by Judge Gregory H. Woods)(Text Only Order) (Woods, Gregory) (Entered: 05/01 /2020)

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  05/08/2020              20 LETTER addressed to Judge Gregory H. Woods from James E. Figliozzi dated May 7,
                             2020 re: Joint Initial Pretrial Letter. Document filed by John Doe .. (Figliozzi, James)
                             (Entered: 05/08/2020)
  05/11/2020              l l RULE 7.1 CORPORATE DISCLOSURE STATEMENT. No Corporate Parent. Document
                                 filed by New York University.. (Metzler, Jeffrey) (Entered: 05/ 11 /2020)
  05/ 11/2020             22     MOTION to Dismiss / Notice of Motion to Dismiss Plaintiff's Complaint . Document filed
                                 by New York University.. (Metzler, Jeffrey) (Entered: 05/1 1/2020)
  05/ 11/2020             23     MEMORANDUM OF LAW in Support re : 22 MOTION to Dismiss / Notice of Motion to
                                 Dismiss Plaintiffs Complaint . . Document filed by New York University.. (Metzler,
                                 Jeffrey) (Entered: 05/11/2020)

  05/11 /2020             24     DECLARATION of William Miller in Support re : 22 MOTION to Dismiss / Notice of
                                 Motion to Dismiss Plaintiff's Complaint .. Document filed by New York University.
                                 (Attachments : # l Exhibit A, # 2 Exhibit B Part 1, # .3. Exhibit B Part 2, # 1 Exhibit B Part
                                 3, # 2 Exhibit B Part 4, # _{i Exhibit B Part 5, # 1 Exhibit B Part 6, # .8. Exhibit B Part 7, #
                                 2 Exhibit B Part 8, # 10 Exhibit B Part 9, # il Exhibit B Part 10, # 12. Exhibit B Part 11,
                                 # 13 Exhibit B Part 12, # 14 Exhibit B Part 13 , # 12 Exhibit B Part 14, # li Exhibit B
                                 Part 15 , # 11 Exhibit B Part 16, # 1.8. Exhibit B Part 17, # 12 Exhibit B Part 18, # 20
                                 Exhibit B Part 19, # l l Exhibit B Part 20, # 22 Exhibit B Part 21 , # 23 Exhibit B Part 22,
                                 # 24 Exhibit B Part 23 , # 25 Exhibit B Part 24, # 26 Exhibit B Part 25 , # 27 Exhibit B
                                 Part 26, # 28 Exhibit B Part 27, # 29 Exhibit B Part 28 , # 30 Exhibit B Part 29, # .3.1
                                 Exhibit B Part 30, # 32 Exhibit B Part 31 , # 33 Exhibit B Part 32, # 34 Exhibit B Part 33 ,
                                 # 35 Exhibit B Part 34, # 36 Exhibit B Part 35, # 37 Exhibit B Part 36, # 38 Exhibit B
                                 Part 37, # 39 Exhibit B Part 38, # 40 Exhibit C, # 41 Exhibit D).(Metzler, Jeffrey)
                                 (Entered: 05/1 1/2020)
   05/12/2020              25    ORDER. The initial pretrial conference scheduled for May 15 , 2020 at 4:00 p.m. will be
                                 held via conference call. The parties are directed to use the conference call dial-in
                                 information and access code noted in the Court's Emergency Rules in light of COVID- 19,
                                 available on the Court's website, and are specifically directed to comply with Emergency
                                 Rule 2(c). (HEREBY ORDERED by Judge Gregory H . Woods) (Text Only Order)
                                 (Woods, Gregory) (Entered: 05/12/2020)
   05/15/2020              26    ORDER. For the reasons set forth on the record during the conference held on May 15 ,
                                 2020, discovery is stayed pending the briefing and resolution of Defendant's pending
                                 motion to dismiss. (HEREBY ORDERED by Judge Gregory H. Woods) (Text Only
                                 Order) (Woods, Gregory) (Entered: 05/15/2020)
   06/01/2020              27    AMENDED COMPLAINT amending l Complaint against New York University with
                                 ruRY DEMAND.Document filed by John Doe. Related document: l Complaint..(Lau,
                                 Kimberly) (Entered: 06/01/2020)
   06/02/2020              28    ORDER denying as moot 22 Motion to Dismiss. On June 1, 2020, Plaintiff filed an
                                 Amended Complaint. Dkt. No . 27. Because Plaintiff has amended his complaint,
                                 Defendant's motion to dismiss, Dkt. No . 22 , is denied as moot. The deadline by which
                                 Defendant must answer or otherwise respond to the Amended Complaint is June 22,
                                 2020. If Defendant still anticipates moving to dismiss, the Court will dispense with the
                                 pre-motion conference requirement. Should Defendant so move, Plaintiffs opposition is
                                 due three weeks after the date of service of Defendant's motion; Defendant's reply, if any,
                                 is due one week after the date of service of Plaintiffs opposition. (HEREBY ORDERED
                                 by Judge Gregory H. Woods)(Text Only Order) (Woods, Gregory) (Entered: 06/02/2020)

   06/17/2020              29    PROPOSED ORDER. Document filed by New York University.. (Metzler, Jeffrey)
                                 Proposed Order to be reviewed by Clerk's Office staff. (Entered: 06/17/2020)
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  06/ 17/2020             30 JOINT LETTER addressed to Judge Gregory H. Woods from Jeffrey Metzler dated June
                             17, 2020 re : Proposed Order. Document filed by New York University..(Metzler, Jeffrey)
                             (Entered: 06/l 7/2020)
  06/18/2020                    ***NOTICE TO COURT REGARDING PROPOSED ORDER. Document No. 29
                                Proposed Order was reviewed and approved as to form. (km) (Entered: 06/18/2020)
  06/18/2020             11 MEMO ENDORSEMENT on re: 30 JOINT LETTER addressed to Judge Gregory H.
                                Woods from Jeffrey Metzler dated June 17, 2020 re: Proposed Order. Document filed by
                                New York University. ENDORSEMENT: Application denied. The Court's order granting
                                Plaintiff permission to proceed under a pseudonym, Dkt. No. 5, did not cover the broader
                                categories of information sought to be sealed by the parties' proposed order. The Court
                                authorized the plaintiff to use a pseudonym for purposes of his pleadings; this proposal
                                requests that the Court seal what appears to be a substantial volume of the evidence
                                underlying this case--including any information that "could" reveal the identity of
                                Plaintiff or his accuser. It is not reasonable to suggest that the Court's decision to pe1mit
                                Plaintiff to proceed under a pseudonym for purposes of the pleadings supports this broad
                                sealing request; it does not. Any renewed motion to seal should be filed
                                contemporaneously with the parties' briefing on Defendant's anticipated motion to
                                dismiss, in accordance with Rule 4(A)(ii) of the Court's Individual Rules of Practice in
                                Civil Cases. The parties are reminded that there is a presumption of public access to
                                judicial documents ; the parties should not expect that evidence and infonnation presented
                                to the Court to support its evaluation of any motions--judicial documents--will not be
                                disclosed to the public. SO ORDERED . (Signed by Judge Gregory H. Woods on
                                6/18/2020) (rjm) (Entered: 06/ 18/2020)
   06/22/2020             32    MOTION to Dismiss / Notice of Motion to Dismiss Plaintiff's Amended Complaint.
                                Document filed by New York University.. (Metzler, Jeffrey) (Entered: 06/22/2020)
   06/22/2020             33    DECLARATION of William Miller in Support re : 32 MOTION to Dismiss / Notice of
                                Motion to Dismiss Plaintiff's Amended Complaint .. Document filed by New York
                                University. (Attachments: # l Exhibit A Procedures, # 2. Exhibit B Redacted ISR Part 1, #
                                1 Exhibit B Redacted ISR Part 2, # 1 Exhibit B Redacted ISR Part 3, # 2 Exhibit B
                                Redacted ISR Part 4, # Q Exhibit C Slip sheet, # 1 Exhibit D Redacted Hearing Decision,
                                # ~ Exhibit E Redacted Appeal Statement, # 2. Exhibit F Redacted Appeal Decision).
                                (Metzler, Jeffrey) (Entered: 06/22/2020)
   06/22/2020             34 MEMORANDUM OF LAW in Support re : 32 MOTION to Dismiss / Notice ofMotion to
                             Dismiss Plaintiff's Amended Complaint . . Document filed by New York University..
                             (Metzler, Jeffrey) (Entered: 06/22/2020)
   06/22/2020             35    LETTER MOTION to Seal / for Leave to File Redacted and Sealed Exhibits on Motion to
                                Dismiss addressed to Judge Gregory H. Woods from Jeffrey Metzler dated June 22, 2020.
                                Document filed by New York University. (Attachments:# l Exhibit B (Redacted ISR
                                with slipsheet Part 1, # 2. Exhibit B (Redacted ISR with slipsheet Part 2, # l Exhibit B
                                (Redacted ISR with slipsheet Part 3, # 1 Exhibit B (Redacted ISR with slipsheet Part 4, #
                                2 Exhibit D (Redacted Hearing Decision), # QExhibit E (Redacted Appeal Statement), #
                                1 Exhibit F (Redacted Appeal Decision)).(Metzler, Jeffrey) (Entered: 06/22/2020)
   06/22/2020             36    ***SELECTED PARTIES*** LETTER addressed to Judge Gregory H. Woods from
                                Jeffrey Metzler dated June 22, 2020 re: Leave to File Redacted and Sealed Exhibits on
                                Motion to Dismiss. Document filed by John Doe, New York University. (Attachments:#
                                l Exhibit B Outline Redacted ISR Part 1, # 2. Exhibit B Outline Redacted ISR Part 2, # 1
                                Exhibit B Outline Redacted ISR Part 3, # 1 Exhibit B Outline Redacted ISR Part 4, # 2
                                Exhibit B Outline Redacted ISR Part 5, # Q Exhibit B Outline Redacted ISR Part 6, # 1
                                Exhibit B Outline Redacted ISR Part 7, # ~ Exhibit B Outline Redacted ISR Part 8, # 2.

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                               Exhibit C Slip Sheet, # 10 Exhibit D Outline Redacted Hearing Decision, # 11 Exhibit E
                               Outline Redacted Appeal Statement,# ll Exhibit F Outline Redacted Appeal
                               Decision)Motion or Order to File Under Seal : 35 .(Metzler, Jeffrey) (Entered:
                               06/22/2020)
  07/ 13/2020              37    MEMORANDUM OF LAW in Opposition re: 32 MOTION to Dismiss / Notice of
                                 Motion to Dismiss Plaintiffs Amended Complaint . . Document filed by John Doe .. (Lau,
                                 Kimberly) (Entered: 07/13/2020)
  07/20/2020               38    REPLY MEMORANDUM OF LAW in Support re: 32 MOTION to Dismiss / Notice of
                                 Motion to Dismiss Plaintiffs Amended Complaint . . Document filed by New York
                                 University.. (Metzler, Jeffrey) (Entered: 07/20/2020)
  07/21 /2020              39    REPLY MEMORANDUM OF LAW in Suppo11 re: 32 MOTION to Dismiss / Notice of
                                 Motion to Dismiss Plaintiffs Amended Complaint. (CORRECTED) . Document filed by
                                 New York University.. (Metzler, Jeffrey) (Entered: 07/21 /2020)
  03/31/2021              40     MEMORANDUM OPINION AND ORDER re: 32 MOTION to Dismiss / Notice of
                                 Motion to Dismiss Plaintiffs Amended Complaint. filed by New York University. For the
                                 reasons stated above, Defendant's motion to dismiss Plaintiffs Amended Complaint is
                                 GRANTED as to Plaintiffs promissory estoppel claim regarding Signor's promise that
                                 Plaintiff could file his Title IX complaint against Jane after her complaint against Plaintiff
                                 was adjudicated; Defendant's motion is DENIED as to all other claims. The Clerk of
                                 Court is directed to terminate the motion pending at Dkt. No . 32. SO ORDERED.
                                 (Signed by Judge Gregory H. Woods on 3/31/2021) (ks) Modified on 3/31/2021 (ks) .
                                 (Entered: 03/31/2021)
  03/31 /2021              41    ORDER granting 35 Letter Motion to Seal. Defendant's June 22, 2020 request to seal
                                 certain documents, Dkt. No. 36, is granted. The Court has examined the records that
                                 Defendant requests to seal through the mbric described in Mirlis v. Greer, 952 F.3d 51 (2d
                                 Cir. 2020). The documents presented to the Court in support of the motion to dismiss are
                                 judicial documents. The weight associated with the documents that the parties seek to seal
                                 is modest because the names and images of the individuals whose information was
                                 redacted did not play a role in the Cami's evaluation of the motion to dismiss. The weight
                                 is lower with respect to those documents that the Court has determined not to be integral
                                 to the complaint. Given the weight of these documents, the Court concludes that the
                                 presumption of public access is outweighed by the privacy interests of the individuals
                                 involved for substantially the reasons described by Defendant in its letter. This conclusion
                                 applies only to the application to seal these materials in connection with Defendant's
                                 motion to dismiss . (HEREBY ORDERED by Judge Gregory H. Woods)(Text Only
                                 Order) (Woods, Gregory) (Entered: 03/31/2021)
  04/ 12/2021              42    LETTER MOTION for Extension of Time to respond to the Complaint until April 28,
                                 2021 addressed to Judge Gregory H. Woods from Jeffrey Metzler dated April 12, 2021.
                                 Document filed by New York University.. (Metzler, Jeffrey) (Entered: 04/12/2021)
  04/13/2021               43    ORDER granting 42 . Defendant's April 12, 2021 request for an extension of time to
                                 answer or otherwise respond to the complaint, Dkt. No . 42, is granted. The deadline for
                                 Defendant to answer or otherwise respond is extended to April 28, 2021. (HEREBY
                                 ORDERED by Judge Gregory H. Woods)(Text Only Order) (wv) (Entered: 04/ 13/2021)
  04/ 13/2021              44 NOTICE OF INITIAL PRETRIAL CONFERENCE: The conference will be conducted
                              by telephone. The parties are directed to the Court's Emergency Rules in Light of
                              COVID-19, which are available on the Court's website, for the dial-in number and other
                              relevant instmctions. The parties are specifically directed to comply with Rule 2(C) of the
                              Court's Emergency Rules. Initial Conference set for 5/21 /2021 at 03 :00 PM before Judge


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                                Gregory H . Woods. (Signed by Judge Gregory H. Woods on 4/13/2021) (nb) (Entered:
                                04/ 13/2021)
  04/23/2021             45     LETTER addressed to Judge Gregory H. Woods from Kimberly C.Lau dated April 23 ,
                                2021 re: Adjournment oflnitial Conference. Document filed by John Doe ..(Lau,
                                Kimberly) (Entered: 04/23/2021)
  04/26/2021             46     ORDER. Plaintiffs April 23, 2021 request to adjourn the initial pretrial conference, Dkt.
                                No. 45, is granted. The initial pretrial conference scheduled for May 21, 2021 is
                                adjourned to June 11 , 2021 at 4 p.m. The joint status letter and proposed case
                                management plan described in the Court's April 13 , 2021 order are due no later than June
                                4, 2021. (HEREBY ORDERED by Judge Gregory H. Woods) (Text Only Order) (wv)
                                (Entered: 04/26/2021 )
  04/28/2021             47     ANSWER to 27 Amended Complaint with JURY DEMAND. Document filed by New
                                York University.. (Metzler, Jeffrey) (Entered : 04/28/2021)
  06/04/2021             48     JOINT LETTER addressed to Judge Gregory H. Woods from James E. Figliozzi and
                                Jeffrey P. Metzler dated June 4, 2021 re: Initial Pretrial Conference. Document filed by
                                John Doe ..(Figliozzi, James) (Entered: 06/04/2021)
  06/11/2021                    Minute Entry for proceedings held before Judge Grego1y H. Woods : Telephone
                                Conference held on 6/ 11 /2021. (Court Reporter present) (wv) (Entered: 06/ 14/2021)
  06/ 16/2021            49     NOTICE OF APPEARANCE by Melissa Pettit on behalf of New York University.. (Pettit,
                                Melissa) (Entered: 06/ 16/2021)
  08/30/2021              50    CIVIL CASE MANAGEMENT PLAN AND SCHEDULING ORDER: All parties do not
                                consent to conducting all further proceedings before a United States Magistrate Judge,
                                including motions and trial. 28 U.S.C. § 636(c). Fact Discovery due by 12/31 /2021.
                                Deposition due by 11 /30/2021. Expert Discovery due by 2/15/2022. Motions for
                                summary judgment, if any, shall be filed no later than by 3/ 17/2022. The parties expect
                                that this case is to be tried to a jmy. Counsel for the parties have conferred and their
                                present best estimate of the length of trial is 5-7 days . Status Conference set for 3/ l/2022
                                at 03 :00 PM before Judge Gregory H. Woods. (Signed by Judge Gregory H. Woods on
                                8/28/2021) (rro) (Entered: 08/30/2021)
  09/08/2021             .i1 LETTER addressed to Judge Grego1y H. Woods from Jeffrey P. Metzler dated September
                                3, 2021 re: Request that the Court enter the Stipulated Confidentiality Agreement and
                                Protective Order and the Stipulation and Order Governing the Production and Use of
                                Education Records . Document filed by New York University.. (Metzler, Jeffrey) (Entered:
                                09/08/2021)
  09/08/2021              52    PROPOSED PROTECTIVE ORDER. Document filed by New York University.. (Metzler,
                                Jeffrey) (Entered: 09/08/2021)
  09/08/2021              53    PROPOSED STIPULATION AND ORDER. Document filed by New York University..
                                (Metzler, Jeffrey) (Entered: 09/08/2021)
  09/09/2021              54    STIPULATION AND ORDER GOVERNING THE PRODUCTION AND USE OF
                                EDUCATION RECORDS: The parties have advised the Comi that pretrial discovery,
                                pretrial motions and, if necessary, trial of this action will involve students' education
                                records (hereinafter referred to as Confidential Student Records) that are subject to the
                                Family Educational Rights and Privacy Act, 20 U.S.C. § 1232g ("FERPA"), and its
                                implementing regulations, 34 C.F.R. §§ 99.1 et seq. The Parties accordingly have jointly
                                requested that the Court enter this Stipulation and Order governing the production and
                                use of Confidential Student Records subject to FERPA in this action.Therefore, upon
                                application of the parties and good cause having been shown, it is herebyORDERED as

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                                follows: Pursuant to 20 U.S.C. § 1232g(b)(2)(B) and 34 C.F.R . §§ 99.3l(a)(9)(i),
                                inresponse to discovery requests or as otherwise necessary for use in this action through
                                andincluding trial, Defendant New York University (hereinafter referred to as
                                "Defendant" orthe "University") or its representatives are pe1mitted to disclose
                                Confidential StudentRecords protected by FERPA. Prior to disclosure of any Confidential
                                Student Records protected by FERPA, theUniversity shall make reasonable effort to
                                provide notification of any request for the disclosure of Confidential Student Records to
                                any student whose records are to be disclosedin advance of disclosure so that the eligible
                                student may seek protective action pursuant to 34C.F.R. §§ 99.3 l(a)(9)(ii) if they choose
                                to do so and further set forth in this Order. (Signed by Judge Gregory H. Woods on
                                9/9/2021) (rro) (Entered: 09/09/2021)
  09/09/2021              55    STIPULATED CONFIDENTIALITY AGREEMENT AND PROTECTIVE
                                ORDER ... regarding procedures to be followed that shall govern the handling of
                                confidential material... (Signed by Judge Gregory H. Woods on 9/9/2021) (rro) (Entered:
                                09/09/2021)
  09/17/2021              56    NOTICE OF APPEARANCE by Max Winograd on behalf of New York University..
                                (Winograd, Max) (Entered: 09/17/2021)
   11 /01/2021            57    JOINT LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau dated
                                November 1, 2021 re : Extension of Discovery Deadlines. Document filed by John Doe ..
                                (Lau, Kimberly) (Entered: 11/01/2021)
   11 /01/2021            58    PROPOSED CASE MANAGEMENT PLAN. Document filed by John Doe .. (Lau,
                                Kimberly) (Entered: 11 /01/2021)
   11 /02/2021            59    ORDER. The parties' request for an extension of time to complete discovery, Dkt. No. 57,
                                is granted. The deadline for the completion of all fact discovery is extended to March 1,
                                2022. The deadline for the completion of all expe1i discovery is extended to May 2, 2022.
                                Every party-proponent of a claim (including any counterclaim, cross-claim, or third-party
                                claim) that intends to offer expert testimony in respect of such claim must make the
                                disclosures required by Fed. R. Civ. P. 26(a)(2) by March 1, 2022. Every party-opponent
                                of such claim that intends to offer expe1i testimony in opposition to such claim must
                                make the disclosures required by Fed. R. Civ. P. 26(a)(2) by April 1, 2022. The deadline
                                for submission of motions for summary judgment, if any, is extended to June 1, 2022 .
                                The status conference scheduled for March 1, 2022 is adjourned to May 18, 2022 at 4:00
                                p.m. The joint status letter requested in the case management plan and scheduling order
                                entered on August 30, 2021 , Dkt. No . 50, is due· no later than May 11, 2022. Except as
                                expressly modified by this order, the case management plan entered by the Court on
                                August 30, 2021 , Dkt. No. 50, remains in full force and effect. (HEREBY ORDERED by
                                Judge Gregory H. Woods) (Text Only Order) (wv) (Entered: 11/02/2021)
  01 /27/2022             60    LETTER MOTION for Extension of Time to conduct the potential depositions of three
                                third parties until after the exchange of expert reports addressed to Judge Gregory H.
                                Woods from Jeffrey P. Metzler dated January 27, 2022. Document filed by New York
                                University.. (Metzler, Jeffrey) (Entered: 01/27/2022)
  01/28/2022              61     ORDER granting 60 . Defendant's request to adjourn the potential depositions of three
                                 third parties until after the exchange of expert reports, Dkt. No. 60, is granted. Defendant
                                 is permitted to depose Plaintiffs doctors during the expert phase of discovery in the event
                                 that information from those fact witnesses is relied on by Plaintiffs experts. (HEREBY
                                 ORDERED by Judge Gregory H. Woods)(Text Only Order) (wv) (Entered: 01/28/2022)
  02/22/2022              62     LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau, Esq. dated
                                 February 22, 2022 re: Limited Extension of Fact Discovery. Document filed by John
                                 Doe .. (Lau, Kimberly) (Entered: 02/22/2022)
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  02/22/2022              63     MEMO ENDORSEMENT on re : 62 Letter filed by John Doe. ENDORSEMENT:
                                 Plaintiffs application for an extension of time till March 15, 2022 to dispose Ms .
                                 Lattimore and Mr. Bledsoe is granted. Except as expressly modified by this order, the
                                 case management plan entered by the Court on August 30, 2021 , Dkt. No. 50, remains in
                                 full force and effect. So Ordered (Fact Discovery due by 3/ 15/2022.) (Signed by Judge
                                 Gregory H . Woods on 2/22/2022) Us) (Entered: 02/23/2022)
  03/04/2022              64     JOINT LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau, Esq. and
                                 Jeffrey P. Metzler, Esq. dated March 4, 2022 re : Discovery Conference Request.
                                 Document filed by John Doe. (Attachments: # l Exhibit A, # 2 Exhibit B, # .3. Exhibit C).
                                 (Lau, Kimberly) (Entered: 03/04/2022)
  03/07/2022              65     ORDER. Defendant's request for a pre-motion conference, Dkt. No . 64, is granted. The
                                 Court will hold a teleconference regarding the parties' discovery dispute on March 15 ,
                                 2022 at 10:00 a.m. The parties are directed to the Court's Emergency Rules in Light of
                                 COVID-19, which are available on the Court's website, for the dial-in number and other
                                 relevant instructions. The parties are specifically directed to comply with Rule 2(C) of the
                                 Court's Emergency Rules. (HEREBY ORDERED by Judge Gregory H. Woods) (Text
                                 Only Order) (wv) (Entered: 03/07/2022)
  03/ 15/2022             66     ORDER. The Court will hold a teleconference regarding the parties' discovery dispute on
                                 March 17, 2022 at 1:00 p.m. The parties are directed to the Court's Emergency Rules in
                                 Light of COVID-19, which are available on the Court's website, for the dial-in number
                                 and other relevant instructions. The pa1ties are specifically directed to comply with Rule
                                 2(C) of the Court's Emergency Rules . (HEREBY ORDERED by Judge Gregory H.
                                 Woods) (Text Only Order) (wv) (Entered: 03/15/2022)
  03/ 15/2022                    Minute Entry for proceedings held before Judge Gregory H . Woods: Telephone
                                 Conference held on 3/ 15/2022. (Court Reporter present) (wv) (Entered: 03/ 16/2022)
  03/ 17/2022             67     ORDER. For the reasons stated on the record at the conference held on March 17, 2022,
                                 Plaintiffs request to reopen discovery, Dkt. No. 64, is denied. (HEREBY ORDERED by
                                 Judge Gregory H . Woods) (Text Only Order) (wv) (Entered: 03/17/2022)
  03/21/2022              68     LETTER MOTION for Extension of Time re: the deadline for NYU's emotional damages
                                 expert rebuttal report addressed to Judge Gregory H . Woods from Jeffrey P. Metzler
                                 dated March 21 , 2022. Document filed by New York University.. (Metzler, Jeffrey)
                                 (Entered: 03/21/2022)
   03/21/2022             69     ORDER granting 68 Letter Motion for Extension of Time. Application granted. The
                                 deadline for NYUs emotional damages expert rebuttal report is extended to April 8, 2022.
                                 Except as expressly modified by this order, the case management plan entered by the
                                 Court on August 30, 2021 , Dkt. No. 50, remains in full force and effect. (Signed by Judge
                                 Gregory H. Woods on 3/21/2022) (rro) (Entered: 03/21 /2022)
   03/29/2022             70     TRANSCRIPT of Proceedings re: CONFERENCE held on 3/15/2022 before Judge
                                 Gregory H. Woods. Court Reporter/Transcriber: Sadie Herbert, (212) 805-0310.
                                 Transcript may be viewed at the court public terminal or purchased through the Court
                                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                 date it may be obtained through PACER. Redaction Request due 4/19/2022. Redacted
                                 Transcript Deadline set for 4/29/2022. Release of Transcript Restriction set for
                                 6/27/2022 .. (Moya, Goretti) (Entered: 03/29/2022)
   03/29/2022             11 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                 official transcript of a CONFERENCE proceeding held on 3/ 15/22 has been filed by the
                                 court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                 calendar days to file with the court a Notice of Intent to Request Redaction of this

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                             transcript. If no such Notice is filed, the transcript may be made remotely electronically
                             available to the public without redaction after 90 calendar days .... (Moya, Goretti)
                             (Entered: 03/29/2022)
  04/07/2022              72    TRANSCRIPT of Proceedings re: CONFERENCE held on 3/17/2022 before Judge
                                Gregory H. Woods. Court Repo1ter/Transcriber: Sadie Herbert, (212) 805-0310.
                                Transcript may be viewed at the court public terminal or purchased through the Court
                                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                date it may be obtained through PACER. Redaction Request due 4/28/2022. Redacted
                                Transcript Deadline set for 5/9/2022. Release of Transcript Restriction set for 7/6/2022 ..
                                (Moya, Goretti) (Entered: 04/07/2022)
  04/07/2022              73    NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                official transcript of a CONFERENCE proceeding held on 3/17/22 has been filed by the
                                court reporter/transcriber in the above-captioned matter. The parties have seven (7)
                                calendar days to file with the court a Notice oflntent to Request Redaction of this
                                transcript. If no such Notice is filed, the transcript may be made remotely electronically
                                available to the public without redaction after 90 calendar days .. .. (Moya, Goretti)
                                (Entered: 04/07/2022)
  04/21/2022              74    LETTER MOTION to Adjourn Conference / to adjourn status conference currently
                                scheduled/or May 18, 2022 addressed to Judge Gregory H. Woods from Jeffrey P.
                                Metzler dated April 21 , 2022. Document filed by New York University.. (Metzler, Jeffrey)
                                (Entered: 04/21/2022)
  04/21/2022              75    ORDER: granting in part and denying in part 74 Letter Motion to Adjourn Conference.
                                Application granted in part and denied in part. The stah1s conference scheduled for May
                                18, 2022 is adjourned to May 23 , 2022 at 3 :00 p.m. The joint stah1s letter requested in the
                                case management plan and scheduling order entered on August 30, 2021 , Dkt. No . 50, is
                                due no later than May 16, 2022. Except as expressly modified by this order, the case
                                management plan entered by the Court on August 30, 2021 , Dkt. No . 50, remains in full
                                force and effect. NYU has not filed a pre-motion conference letter, as required by the case
                                management plan and the Court will not act on a hypothetical request. Any request for a
                                pre-motion conference must comply with he Court's Individual Rule 2(C) and must be
                                filed in accordance with the tenns of the case management plan. The Clerk of Court is
                                directed to te1minate the motion pending at Dkt. No . 74. SO ORDERED. Stah1s
                                Conference set for 5/23/2022 at 03 :00 PM before Judge Gregory H. Woods . (Signed by
                                Judge Gregory H. Woods on 4/21 /2022) (ama) (Entered: 04/21 /2022)
  05/09/2022              76    LETTER MOTION for Conference /request for pre-motion conference addressed to
                                Judge Gregory H. Woods from Jeffrey P. Metzler dated May 9, 2022. Document filed by
                                New York University.. (Metzler, Jeffrey) (Entered: 05/09/2022)
  05/09/2022              77    ORDER granting 76 . Defendant's request for a pre-motion conference, Dkt. No. 76, is
                                granted. The Court will hold a pre-motion conference to discuss Defendant's proposed
                                motion for summary judgment and motion to exclude during the status conference
                                scheduled to take place on May 23, 2022 at 3 :00 p.m. (HEREBY ORDERED by Judge
                                Gregory H. Woods)(Text Only Order) (wv) (Entered: 05/09/2022)
  05/ 16/2022             78    JOINT LETTER addressed to Judge Gregory H. Woods from Jeffrey P. Metzler dated
                                May 16, 2022 re: Status of matter. Document filed by New York University .. (Metzler,
                                Jeffrey) (Entered: 05/16/2022)
  05/ 16/2022             79     LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau, Esq. dated May
                                 16, 2022 re : opposition to Defendant New York Universitys request for a pre-motion
                                 conference. Document filed by John Doe .. (Lau, Kimberly) (Entered: 05/16/2022)


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  05/18/2022              80     LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau, Esq. dated May
                                 18, 2022 re: Court Appearance Scheduled for May 23, 2022 . Document filed by John
                                 Doe .. (Lau, Kimberly) (Entered: 05/18/2022)
  05/18/2022              fil_   MEMO ENDORSEMENT: on re: 80 Letter filed by John Doe. ENDORSEMENT: The
                                 conference scheduled for May 23, 2022 at 3:00 p.m. will take place in Courtroom 12C of
                                 the United States District Comi for the Southern District of New York, Daniel Patrick
                                 Moynihan U.S. Courthouse at 500 Pearl Street, New York, New York, 10007. SO
                                 ORDERED., ( Status Conference set for 5/23/2022 at 03:00 PM in Courtroom 12C, 500
                                 Pearl Street, New York, NY 10007 before Judge Gregory H. Woods .) (Signed by Judge
                                 Gregory H. Woods on 5/18/2022) (ama) (Entered: 05/18/2022)
  05/23/2022                     Minute Entry for proceedings held before Judge Gregory H. Woods: Telephone
                                 Conference held on 5/23 /2022. (Court Reporter present) (wv) (Entered: 05/24/2022)
  05/24/2022              82     ORDER. For the reasons stated on the record at the conference held on May 23, 2022,
                                 Defendant's request for leave to file a motion for summary judgment, is granted. The
                                 deadline for Defendant to file and serve its motion for summary judgment is June 22,
                                 2022. Plaintiffs opposition is due within thi1iy-five days after service of Defendant's
                                 motion; Defendant's reply, if any, is due within fourteen days after service of Plaintiffs
                                 opposition. In addition, the Court defers briefing on the parties' anticipated Daube1i
                                 motions pending briefing and resolution of Defendant's anticipated motion for summary
                                 judgment. (HEREBY ORDERED by Judge Gregory H. Woods) (Text Only Order) (wv)
                                 (Entered: 05/24/2022)
   06/17/2022             83     TRANSCRIPT of Proceedings re : CONFERENCE held on 5/23/2022 before Judge
                                 Gregory H. Woods . Court Reporter/Transcriber: Khristine Sellin, (212) 805-0300.
                                 Transcript may be viewed at the court public terminal or purchased through the Comi
                                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                                 date it may be obtained through PACER. Redaction Request due 7/8/2022. Redacted
                                 Transcript Deadline set for 7/18/2022 . Release of Transcript Restriction set for
                                 9/ 15/2022 .. (McGuirk, Kelly) (Entered: 06/ 17/2022)
   06/ 17/2022            84     NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                                 official transcript of a CONFERNECE proceeding held on 5/23/2022 has been filed by
                                 the court reporter/transcriber in the above-captioned matter. The pa1iies have seven (7)
                                 calendar days to file with the court a Notice oflntent to Request Redaction of this
                                 transcript. If no such Notice is filed , the transcript may be made remotely electronically
                                 available to the public without redaction after 90 calendar days .... (McGuirk, Kelly)
                                 (Entered: 06/l 7/2022)
   06/22/2022             85     MOTION for Summary Judgment / NOTICE OF MOTION FOR SUMMARY
                                 JUDGMENT BY DEFENDANT. Document filed by New York University.. (Metzler,
                                 Jeffrey) (Entered: 06/22/2022)
   06/22/2022             86     RULE 56.1 STATEMENT. Document filed by New York University .. (Metzler, Jeffrey)
                                 (Entered: 06/22/2022)
   06/22/2022             87     MEMORANDUM OF LAW in Support re: 85 MOTION for Summary Judgment /
                                 NOTICE OF MOTION FOR SUMMARY JUDGMENT BY DEFENDANT. . Document
                                 filed by New York University.. (Metzler, Jeffrey) (Entered: 06/22/2022)
   06/22/2022             88     DECLARATION of Jeffrey P. Metzler in Suppo1i re : 85 MOTION for Summary
                                 Judgment / NOTICE OF MOTION FOR SUMMARY JUDGMENT BY DEFENDANT..
                                 Document filed by New York University. (Attachments : # l Exhibit 1 Part A,# 2 Exhibit
                                 1 Part B, # .3. Exhibit I Part C, # 1. Exhibit 1 Part D, # 2 Exhibit 1 Part E, # 6. Exhibit 1
                                 Part F, # 1 Exhibit 1 Part G, # .8. Exhibit lPart H , # .2 Exhibit 2, # 10 Exhibit 3, # 11

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                              Exhibit 4, # 11 Exhibit 5, # .Ll. Exhibit 6, # ]A Exhibit 7, # 12 Exhibit 8, # JJi Exhibit 9, #
                                11 Exhibit 10, # _IB Exhibit 11, # 12 Exhibit 12, # 20 Exhibit 13 , # .21 Exhibit 14, # 22
                                Exhibit 15, # 23 Exhibit 16, # 24 Exhibit 17, # 25 Exhibit 18, # 26 Exhibit 19, # 27
                                Exhibit 20, # 28 Exhibit 21 , # 29 Exhibit 22, # 30 Exhibit 23, # 31 Exhibit 24, # 32
                                Exhibit 25, # 33 Exhibit 26, # 34 Exhibit 27, # 35 Exhibit 28, # 36 Exhibit 29, # 37
                                Exhibit 30, # 38 Exhibit 31 , # 39 Exhibit 32, # 40 Exhibit 33 , # ~ Exhibit 34, # 42
                                Exhibit 35, # 43 Exhibit 36, # 44 Exhibit 37, # 45 Exhibit 38, # 46 Exhibit 39, # 47
                                Exhibit 40, # 48 Exhibit 41 , # 49 Exhibit 42, # 50 Exhibit 43 , # 21 Exhibit 44, # 52
                                Exhibit 45 , # 53 Exhibit 46, # 54 Exhibit 47, # 55 Exhibit 48 , # 56 Exhibit 49, # 57
                                Exhibit 50, # 58 Exhibit 51, # 59 Exhibit 52, # 60 Exhibit 53, # .61 Exhibit 54, # 62
                                Exhibit 55 , # 63 Exhibit 56, # 64 Exhibit 57, # 65 Exhibit 58, # 66 Exhibit 59, # 67
                                Exhibit 60, # 68 Exhibit 61, # 69 Exhibit 62, # 70 Exhibit 63, # 11 Exhibit 64, # 72
                                Exhibit 65 , # 73 Exhibit 66, # 74 Exhibit 67, # 75 Exhibit 68, # 76 Exhibit 69, # 77
                                Exhibit 70, # 78 Exhibit 71, # 79 Exhibit 72, # 80 Exhibit 73, # fil_ Exhibit 74, # 82
                                Exhibit 75 , # 83 Exhibit 76, # 84 Exhibit 77, # 85 Exhibit 78 , # 86 Exhibit 79, # 87
                                Exhibit 80, # 88 Exhibit 81, # 89 Exhibit 82, # 90 Exhibit 83, # .21 Exhibit 84).(Metzler,
                                Jeffrey) (Entered: 06/22/2022)
  06/23/2022              89    LETTER addressed to Judge Gregory H. Woods from Jeffrey Metzler dated June 23 ,
                                2022 re : ECF Filing En-or. Document filed by New York University..(Metzler, Jeffrey)
                                (Entered: 06/23/2022)
  06/23/2022              90    LETTER MOTION to Seal / Leave to File Redacted and Sealed Exhibits on Motion for
                                Summary Judgment addressed to Judge Gregory H. Woods from Jeffrey Metzler dated
                                June 22, 2022 . Document filed by New York University. (Attachments: # l Exhibit 1 A, #
                                                                                                     n
                                2 Exhibit 1 B, # .3. Exhibit 1 C, # 1 Exhibit 1 D, # 2 Exhibit 1 E, # Exhibit 1 F, # 1
                                Exhibit 1 G, # .8. Exhibit 1 H, # 2 Exhibit 2, # lQ Exhibit 4, # 11 Exhibit 5, # 12 Exhibit 7,
                                # .Ll. Exhibit 10, # 14 Exhibit 11 , # 12 Exhibit 12, # 16 Exhibit 13, # 11 Exhibit 14, # li
                                Exhibit 15, # 12 Exhibit 16, # 20 Exhibit 17, # Zl Exhibit 18, # 22 Exhibit 19, # 23
                                Exhibit 20, # 24 Exhibit 21 , # 25 Exhibit 23 , # 26 Exhibit 24, # 27 Exhibit 26, # 28
                                Exhibit 27, # 29 Exhibit 28, # 30 Exhibit 29, # .3.1 Exhibit 30, # 32 Exhibit 31 , # 33
                                Exhibit 32, # 34 Exhibit 33 , # 35 Exhibit 34, # 36 Exhibit 35 , # 37 Exhibit 36, # 38
                                Exhibit 37, # 39 Exhibit 38, # 40 Exhibit 39, # 41 Exhibit 40, # 42 Exhibit 41 , # 43
                                Exhibit 42, # 44 Exhibit 43 , # 45 Exhibit 44, # 46 Exhibit 45 , # 47 Exhibit 46, # 48
                                Exhibit 4 7, # 49 Exhibit 48 , # 50 Exhibit 49 , # 21 Exhibit 50, # 52 Exhibit 51 , # 53
                                Exhibit 52, # 54 Exhibit 53 , # 55 Exhibit 54, # 56 Exhibit 55 , # 57 Exhibit 56, # 58
                                Exhibit 57, # 59 Exhibit 58, # 60 Exhibit 59, # .61 Exhibit 60, # 62 Exhibit 61 , # 63
                                Exhibit 62, # 64 Exhibit 63 , # 65 Exhibit 64, # 66 Exhibit 65 , # 67 Exhibit 66, # 68
                                Exhibit 68, # 69 Exhibit 69, # 70 Exhibit 71, # 11 Exhibit 72, # 72 Exhibit 73 , # 73
                                Exhibit 74, # 74 Exhibit 75 , # 75 Exhibit 76, # 76 Exhibit 77, # 77 Exhibit 78 , # 78
                                Exhibit 79, # 79 Exhibit 80, # 80 Exhibit 81, # fil_ Exhibit 82, # 82 Exhibit 83, # 83
                                Exhibit 84).(Metzler, Jeffrey) (Entered: 06/23/2022)
  06/23/2022              21 ***SELECTED PARTIES ***REDACTION EXHIBITS 1, 2, 4, 5, 7, 10-21, 23, 24, 26-
                             69, 71-84 - FILED UNDER SEAL by New York University, John Doe (Attachments:# l
                             Exhibit 1 B, # 2 Exhibit 1 C, # .3. Exhibit 1 D, # 1 Exhibit 1 E, # 2 Exhibit 1 F, # nExhibit
                             1 G, # 1 Exhibit 1 H, # .8. Exhibit 2, # 2 Exhibit 4, # lQ Exhibit 5, # 11 Exhibit 7, # 12
                             Exhibit 10, # .Ll. Exhibit 11 , # JA Exhibit 12, # U Exhibit 13, # JJi Exhibit 14, # 11
                             Exhibit 15, # _IB Exhibit 16, # 12 Exhibit 17, # 20 Exhibit 18, # 21 Exhibit 19, # 22
                                Exhibit 20, # 23 Exhibit 21 , # 24 Exhibit 23 , # 25 Exhibit 24, # 26 Exhibit 26, # 27
                                Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # .3.1 Exhibit 31 , # 32
                                Exhibit 32, # 33 Exhibit 33 , # 34 Exhibit 34, # 35 Exhibit 35 , # 36 Exhibit 36, # 37
                                Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41 , # 42
                                Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46 Exhibit 46, # 47
                                Exhibit 47, # 48 Exhibit 48 , # 49 Exhibit 49 , # 50 Exhibit 50, # 21 Exhibit 51 , # 52
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                              Exhibit 52, # 53 Exhibit 53 , # 54 Exhibit 54, # 55 Exhibit 55 , # 56 Exhibit 56, # 57
                              Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # fil Exhibit 61 , # 62
                              Exhibit 62, # 63 Exhibit 63, # 64 Exhibit 64, # 65 Exhibit 65 , # 66 Exhibit 66, # 67
                              Exhibit 67, # 68 Exhibit 68, # 69 Exhibit 69, # 70 Exhibit 71 , # 11 Exhibit 72, # 72
                              Exhibit 73, # 73 Exhibit 74, # 74 Exhibit 75, # 75 Exhibit 76, # 76 Exhibit 77, # 77
                              Exhibit 78, # 78 Exhibit 79, # 79 Exhibit 80, # 80 Exhibit 81, # fil_ Exhibit 82, # 82
                              Exhibit 83 , # 83 Exhibit 84)Motion or Order to File Under Seal: 90 .(Metzler, Jeffrey)
                              (Entered: 06/23/2022)
  06/28/2022              92    LETTER MOTION for Leave to File Corrected Exhibits addressed to Judge Gregory H.
                                Woods from Jeffrey Metzler dated June 28, 2022. Document filed by New York
                                University..(Metzler, Jeffrey) (Entered: 06/28/2022)
  06/28/2022              93    DECLARATION of Jeffrey P. Metzler re : 88 Declaration in Support of Motion,,,,,,,.
                                Document filed by New York University. (Attachments:# 1 Exhibit 12, # 2 Exhibit 14, #
                                l Exhibit 17, # 1 Exhibit 44, # 2. Exhibit 46, # .6. Exhibit 59, # 1 Exhibit 66, # li Exhibit
                                75).(Metzler, Jeffrey) (Entered: 06/28/2022)
  07/07/2022              94    LETTER MOTION for Leave to File Corrected Documents addressed to Judge Gregory
                                H. Woods from Jeffrey Metzler dated July 7, 2022. Document filed by New York
                                University. (Attachments : # 1 Exhibit CORRECTED Summary Judgment 56.1 Statement,
                                # 2 Exhibit 001 - Part D - CORRECTED, # l Exhibit 011 - CORRECTED, # 1 Exhibit
                                013 - CORRECTED, # 2. Exhibit 021 - CORRECTED, # §. Exhibit 026 - CORRECTED,
                                # 1 Exhibit 033 - CORRECTED).(Metzler, Jeffrey) (Entered: 07/07/2022)
  07/08/2022              95    MEMO ENDORSEMENT on 94 granting in part and denying in part 92 Letter Motion
                                for Leave to File Document; granting in part and denying in pai1 94 Letter Motion for
                                Leave to File Document. ENDORSEMENT: Application granted in part and denied in
                                pai1. The Court will change the viewing level for the errantly filed documents, but will
                                not replace documents previously filed on the docket with new versions of the
                                documents. The Clerk of Com1 is directed to restrict the viewing level to Dkt. Nos. 88,
                                88-4, 88-18, 88-19, 88-20, 88-21 , 88-24, 88-28, 88-33 , 88-40, 88-53 , 88-66, 88-73 , and
                                88-82 to the Court and parties only, and to terminate the motions pending at Dkt. Nos. 92
                                and 94. (Signed by Judge Gregory H. Woods on 7/8/2022) (rro) (Entered: 07/08/2022)
  07/27/2022              96    RULE 56.1 STATEMENT. Document filed by John Doe ..(Lau, Kimberly) (Entered:
                                07/27/2022)
  07/27/2022              97    LETTER MOTION to Seal addressed to Judge Gregory H. Woods from Kimberly C.
                                Lau, Esq. dated July 27, 2022. Document filed by John Doe .. (Lau, Kimberly) (Entered:
                                07/27/2022)
  07/27/2022              98    DECLARATION of Kimberly C. Lau in Opposition re : 85 MOTION for Summary
                                Judgment / NOTICE OF MOTION FOR SUMMARY JUDGMENT BY DEFENDANT..
                                Document filed by John Doe. (Attachments : # 1 Exhibit 1, # 2 Exhibit 2, # l Exhibit 3, #
                                1 Exhibit 4, # 2. Exhibit 5, # {i Exhibit 6, # 1 Exhibit 7, # li Exhibit 8, # .2 Exhibit 9, # 10
                                Exhibit 10, # 11 Exhibit 11 , # 12 Exhibit 12, # U Exhibit 13, # 14 Exhibit 14, # 12.
                                Exhibit 15, # 1§. Exhibit 16 Part A,# 11 Exhibit 16 Part B, # ll Exhibit 16 Part C, # 12
                                Exhibit 16 Part D, # 20 Exhibit 17, # ll Exhibit 18, # 22 Exhibit 19).(Lau, Kimberly)
                                (Entered: 07/27/2022)
  07/27/2022              99    MEMORANDUM OF LAW in Opposition re: 85 MOTION for Summary Judgment /
                                NOTICE OF MOTION FOR SUMMARY JUDGMENT BY DEFENDAN T. . Document
                                filed by John Doe ..(Lau, Kimberly) (Entered: 07/27/2022)
  07/27/2022            100     ***SELECTED PARTIES***DECLARATION of Kimberly C. Lau, Esq. in Opposition
                                re: 85 MOTION for Summary Judgment / NOTICE OF MOTION FOR SUMMARY

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                              JUDGMENT BY DEFENDANT.. Document filed by John Doe. (Attachments:# l Exhibit
                                  1, # 2 Exhibit 2, # 1 Exhibit 3, # 1 Exhibit 4, # 2 Exhibit 5, # ~ Exhibit 6, # 1 Exhibit 7, #
                                 -8 Exhibit 8, # 2 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11 , # .U Exhibit 12, # 13 Exhibit
                                  13, # 14 Exhibit 14, # U Exhibit 15 , # ~ Exhibit 16, # 11 Exhibit 17, # I.a Exhibit 18, #
                                  19 Exhibit 19)Motion or Order to File Under Seal: 97 .(Lau, Kimberly) (Entered:
                                 07/28/2022)
  08/02/2022             101     LETTER MOTION for Leave to File Corrected Exhibits 1, 9, 11 , 15, and 16 to Plaintiffs
                                 Opposition to Defendant's Motion for Summary Judgment addressed to Judge Gregory H.
                                 Woods from Kimberly C.Lau dated August 2, 2022. Document filed by John Doe.
                                 (Attachments: # l Exhibit I-Corrected, # 2 Exhibit 9-C01Tected, # 1 Exhibit 11-Corrected,
                                 # 1 Exhibit 15-Corrected, # 2 Exhibit 16-Corrected).(Lau, Kimberly) (Entered:
                                 08/02/2022)
  08/02/2022             102     ** *SELECTED PARTIES*** LETTER MOTION for Leave to File Corrected Exhibits
                                 1, 9, 11 , 15, and 16 to Plaintiffs Opposition to Defendant's Motion for Summary
                                 Judgment addressed to Judge Gregory H. Woods from Kimberly C. Lau dated August 2,
                                 2022. Document filed by John Doe, New York University. (Attachments:# l Exhibit 1-
                                 Corrected, # 2 Exhibit 9-Conected, # 1 Exhibit 11-Corrected, # 1 Exhibit 15-Corrected, #
                                 2 Exhibit 16-Corrected)Motion or Order to File Under Seal: 101 .(Lau, Kimberly)
                                 (Entered: 08/02/2022)
  08/03/2022             103     ORDER granting 10 I Letter Motion for Leave to File Document; granting I 02 Letter
                                 Motion for Leave to File Document. Application granted. The Clerk of Court is directed
                                 to restrict the viewing level to Dkt. Nos. 98-1 , 98-9, 98-11 , 98-15, and 98-16 to the Com1
                                 and parties only, and to terminate the motions pending at Dkt. Nos . 101 and 102 .. (Signed
                                 by Judge Gregory H. Woods on 8/3/2022) (no) (Entered: 08/03 /2022)
  08/08/2022             104     LETTER addressed to Judge Gregory H. Woods from Jeffrey Metzler dated August 8,
                                 2022 re : Plaintiffs Memorandum of Law in Opposition to Defendant's Motion for
                                 Summary Judgment (Dkt. No. 99). Document filed by New York University.
                                 (Attachments: # l Exhibit 1 Email, # 2 Exhibit 2 Letter, # 1 Exhibit 3 Letter).(Metzler,
                                 Jeffrey) (Entered: 08/08/2022)
  08/08/2022             105     LETTER MOTION for Leave to File Corrected Exhibits 3, 11, and 16 to Plaintiffs
                                 Opposition to Defendant's Motion for Summary Judgment addressed to Judge Gregory H.
                                 Woods from Kimberly C. Lau dated August 8, 2022. Document filed by John Doe.
                                 (Attachments : # l Exhibit 3, # 2 Exhibit 11, # 1 Exhibit 16).(Lau, Kimberly) (Entered:
                                 08/08/2022)
  08/08/2022             106     ***SELECTED PARTIES*** LETTER MOTION for Leave to File Corrected Exhibits
                                 3, 11 , and 16 to Plaintiffs Opposition to Defendant's Motion for Summary Judgment
                                 addressed to Judge Gregory H. Woods from Kimberly C. Lau dated August 8, 2022.
                                 Document filed by John Doe, New York University. (Attachments:# l Exhibit 3, # 2
                                 Exhibit 11 , # 1 Exhibit 16)Motion or Order to File Under Seal: 105 .(Lau, Kimberly)
                                 (Entered: 08/08/2022)
  08/08/2022             107     LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau dated August 8,
                                 2022 re : Response to Defendant's August 8, 2022 Letter. Document filed by John Doe ..
                                 (Lau, Kimberly) (Entered: 08/08/2022)
  08/09/2022             108     ORDER. The Court will hold a teleconference with respect to this matter by telephone on
                                 August 10, 2022 at 4:00 p.m. to discuss the parties' August 8, 2022 letters regarding line
                                 spacing. The pai1ies are directed to the Court's Emergency Rules in Light of COVID-19,
                                 which are available on the Court's website, for the dial-in number and other relevant
                                 instructions. The parties are specifically directed to comply with Rule 2(C) of the Court's


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                                Emergency Rules . (HEREBY ORDERED by Judge Gregory H. Woods) (Text Only
                                Order) (wv) (Entered: 08/09/2022)
  08/10/2022            109     ORDER granting 105 Letter Motion for Leave to File Document; granting 106 Letter
                                Motion for Leave to File Document. Application granted. The Clerk of Court is directed
                                to restrict the viewing level to Dkt. Nos. 98-3, 98-17, 98-18, 98-19, and 101-3 to the
                                Comi and parties only, and to terminate the motions pending at Dkt. Nos. 105 and 106.
                                SO ORDERED. (Signed by Judge Gregory H. Woods on 8/ 10/2022) (tg) (Entered:
                                08/ 10/2022)
  08/ 10/2022                   Minute Entry for proceedings held before Judge Gregory H. Woods: Telephone
                                Conference held on 8/10/2022. (Court Reporter present) (wv) (Entered: 08/10/2022)
  08/ 11 /2022          110     ORDER. As stated on the record at the conference held on August l 0, 2022, the page
                                limit for Defendant's reply brief is extended by three pages and the deadline for
                                Defendant's reply is extended to August 11, 2022. The parties are directed to use
                                Microsoft Word's default double spacing for all future submissions that are required to be
                                double spaced. (HEREBY ORDERED by Judge Gregory H. Woods) (Text Only Order)
                                (wv) (Entered: 08/11/2022)
  08/11 /2022           111     RESPONSE re: 96 Rule 56.1 Statement /Defendant New York University's Rule 56.1
                                Statement in Further Support of its Motion of Partial Summary Judgment. Document
                                filed by New York University.. (Metzler, Jeffrey) (Entered: 08/11/2022)
  08/11/2022            112     REPLY MEMORANDUM OF LAW in Support re: 85 MOTION for Summary Judgment
                                I NOTICE OF MOTION FOR SUMMARY JUDGMENT BY DEFENDANT. . Document
                                filed by New York University .. (Metzler, Jeffrey) (Entered: 08/11 /2022)
  08/11 /2022           113     DECLARATION of Jeffrey P. Metzler in Support re : 85 MOTION for Summary
                                Judgment / NOTICE OF MOTION FOR SUMMARY JUDGMENT BY DEFENDANT..
                                Document filed by New York University. (Attachments: # l Exhibit 85).(Metzler, Jeffrey)
                                (Entered: 08/11/2022)
  01/13/2023            114     MOTION for Melissa S. Pettit to Withdraw as Attorney /NOTICE OF MOTION FOR
                                LEAVE TO WITHDRAW AS COUNSEL. Document filed by New York University .. (Pettit,
                                Melissa) (Entered: 01 / 13/2023)
  01/13/2023            115     DECLARATION of Melissa S. Pettit in Support re: 114 MOTION for Melissa S. Pettit to
                                Withdraw as Attorney /NOTICE OF MOTION FOR LEAVE TO WITHDRAW AS
                                COUNSEL.. Document filed by New York University.. (Pettit, Melissa) (Entered:
                                01/13/2023)
  01/14/2023            116     MEMO ENDORSEMENT granting 114 Motion to Withdraw as Attorney.
                                ENDORSEMENT: Application granted. Attorney Melissa S. Pettit is granted leave to
                                withdraw as counsel for Defendant. The Clerk of Court is instructed to terminated
                                Attorney Pettit from the list of active counsel in this case and to terminate the motion
                                pending at Dkt. No . 114. Attorney Melissa Pettit terminated. (Signed by Judge Gregory
                                H. Woods on 1/14/2023) (tro) (Entered: 01/17/2023)
   01/25/2023           117     LETTER addressed to Judge Gregory H. Woods from Kimberly C. Lau dated Janua1y 25,
                                2023 re: Letter Requesting Protection From Court Appearances. Document filed by John
                                Doe .. (Lau, Kimberly) (Entered: 01/25/2023)
   01/25/2023           118     MEMO ENDORSEMENT on re : 117 Letter Requesting Protection From Court
                                Appearances filed by John Doe. ENDORSEMENT: Application denied. The Court
                                declines to commit that it will not schedule a conference in this case during the time
                                period described here for several reasons . First, emergent issues may require prompt
                                attention by the parties. Second, given the dates provided by counsel, there does not

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                                appear to be any overlap between the times when counsel will be on maternity leave and
                                the times when her colleague will be on vacation; accordingly, the Court understands that
                                at all times, Plaintiff will have counsel available to represent him should the Court need
                                to schedule a conference in this matter. Third, many of the Court's conferences are, or can
                                be, conducted by telephone rather than in person. Fomih, counsel is at liberty to request a
                                targeted adjournment of any conference that may be scheduled. As a result, the Court
                                declines to commit to holding no conferences in this matter during the time period
                                requested by counsel. SO ORDERED. (Signed by Judge Grego1y H. Woods on 1/25/23 )
                                (yv) (Entered: 01 /26/2023)
  02/ 16/2023            11 9   ORDER: On the docket of this case, Plaintiffs Exhibit 4 is listed as having been "filed in
                                native fo1mat." Dkt. No . 98-4; Dkt. No . 100-4. Unfortunately, the Comi has been unable
                                to locate this filing. Accordingly, Plaintiff is hereby ordered to send the Plaintiffs Exhibit
                                4, in native fonnat, to the Comt's email at WoodsNYSDChambers@nysd.uscourts.gov. If
                                there were any differences in redactions between what was filed at Dkt. No . 98-4 and
                                what was filed at Dkt. No . 100-4, Plaintiff should email both documents to the Court and
                                indicate which document was tied to which docket entry. If the document was the same at
                                both entries, Plaintiff should indicate that fact. Plaintiff should copy counsel for
                                Defendant on this email. Plaintiff is ordered to send this/these document(s) no later than
                                February 17, 2023 . SO ORDERED. (Signed by Judge Grego1y H. Woods on 2/1 6/2023)
                                (va) (Entered: 02/17/2023)
  03/08/2023                    NOTICE OF CASE REASSIGNMENT to Judge John P. Cronan. Judge Gregory H .
                                Woods is no longer assigned to the case. (aea) (Entered: 03/08/2023 )
  03/08/2023                    NOTICE OF CASE REASSIGNMENT to Judge Mary Kay Vyskocil. Judge John P.
                                Cronan is no longer assigned to the case. (vba) (Entered: 03 /08/2023)
  03/22/2023            120     ORDER granting 90 Letter Motion to Seal; granting 97 Letter Motion to Seal. For the
                                reasons explained below, both motions are GRANTED . As further set forth by this Order.
                                The Clerk of Court respectfully is requested to close the Motions at ECF Nos . 90 and 97.
                                SO ORDERED. (Signed by Judge Mary Kay Vyskocil on 3/22/2023) (tg) (Entered:
                                03/23/2023)
  08/ 17/2023           12 1 OPINION AND ORDER GRANTING DEFENDANT'S MOTION FOR SUMMARY
                             JUDGMENT re : 85 MOTION for Summa1y Judgment / NOTICE OF MOTION FOR
                             SUMMARY JUDGMENT BY DEFENDANT. filed by New York University. For the
                             reasons stated above, Defendant's motion for summary judgment is GRANTED in its
                             entirety. The Clerk of Court respectfully is requested to te1minate the motion pending at
                             ECF No. 85 , enter judgment for NYU, and close the case. (And as further set forth
                             herein.) SO ORDERED . (Signed by Judge Mary Kay Vyskocil on 8/1 7/2023 ) Uca)
                             Transmission to Orders and Judgments Clerk for processing. (Entered: 08/17/2023)
  08/ 18/2023           122     CLERK'S JUDGMENT re : 121 Opinion & Order. It is hereby ORDERED, ADJUDGED
                                AND DECREED : That for the reasons stated in the Court's Opinion and Order dated
                                August 17, 2023, Defendant's motion for summary judgment is GRANTED in its
                                entirety; accordingly, the case is closed. (Signed by Clerk of Court Ruby Krajick on
                                8/18/2023) (Attachments : # l Notice of right to appeal) (nd) (Entered: 08/18/2023)
   09/08/2023            123    NOTICE OF APPEARANCE by Norman Alexander Pattison behalf of John Doe .. (Pattis,
                                Norman) (Entered: 09/08/2023)

   09/08/2023            124     FIRST NOTICE OF APPEAL from 122 Clerk's Judgment,. Document filed by John Doe.
                                 Form C and Form Dare due within 14 days to the Court of Appeals , Second Circuit..
                                 (Pattis, Norman) Modified on 9/8/2023 (km). (Entered: 09/08/2023)



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  09/08/2023                      Appeal Fee Due: for 124 Notice of Appeal. Appeal fee due by 9/22/2023.(km) (Entered:
                                  09/08/2023)
  09/08/2023                      Transmission of Notice of Appeal and Ce1iified Copy of Docket Sheet to US Court of
                                  Appeals re: 124 Notice of Appeal.(krn) (Entered: 09/08/2023)
  09/08/2023                      Appeal Record Sent to USCA (Electronic File). Ce1iified Indexed record on Appeal
                                  Electronic Files for 124 Notice of Appeal filed by John Doe were transmitted to the U.S.
                                  Court of Appeals.(krn) (Entered: 09/08/2023)



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UNITED STATES DISTRICT COURT                                             ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                            DOC#:_ _ _ _ _ __
--------------------------------------------------------------X          DATE FILED : 8/ 17/2023
JOHN DOE,

                                               Plaintiff,
                                                                             1:20-cv-1343-MKV
                            -v-
                                                                      OPINION AND ORDER
NEW YORK UNIVERSITY,                                                 GRANTING DEFENDANT'S
                                                                     MOTION FOR SUMMARY
                                             Defendant.                   JUDGMENT
------------------------------------------------------------- X

MARY KAY VYSKOCIL, United States District Judge:

        Plaintiff John Doe brought this action against New York University ("NYU"), alleging that

NYU discriminated against him based on his gender when, after an investigation, hearing, and

appeal precipitated by a complaint by a female student, NYU expelled Plaintiff for sexual

misconduct and stalking. Plaintiff asserts discrimination claims for the alleged violation of both

federal and state law, and also sues for promissory estoppel based on the alleged promise by his

NYU-appointed advisor that he would not be expelled, which Plaintiff claims to have relied upon

in deciding how vigorously (or not) to defend himself against the charges. Presently before the

Court is NYU's motion for summary judgment on all claims. 1 For the reasons discussed below,

that motion is granted.




1
  In support of its Motion for Summary Judgment, NYU filed a Memorandum of Law [ECF No . 87] ("Def Br."), a
Declaration of Jeffrey P. Metzler [ECF No. 88] ("Metzler Deel."), and a Rule 56.1 Statement [ECF No . 86] ("Def
Facts"). In opposition, Plaintiff filed a Memorandum of Law [ECF No. 99] ("Opp."), a Rule 56.1 Counterstatement
[ECF No . 96] ("Pl. Facts"), and a Declaration of Kimberly C. Lau [ECF No. 98] ("Lau Deel."). In reply, NYU filed
a Memorandum of Law [ECF No. 112] ("Reply"), a Declaration of Jeffrey P. Metzler [ECF No. 113] ("Metzler Deel.
II"), and a Response to Plaintiffs 56.1 Counterstatement [ECF No . 111] ("Def Facts Reply").
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                                             BACKGROUND 2

        Plaintiff John Doe was an NYU student who had a long and sordid relationship (if it could

be called that) with another NYU student, refened to as Jane Roe .3 The details of this relationship

are discussed at length in the materials submitted by the parties in connection with the pending

motion, but they need not be fully recounted in this Opinion. It largely suffices to say that the

relationship was toxic and that, as a result, Jane filed a complaint against Plaintiff with NYU's

Department of Public Safety on April 21, 2018. Def. Facts ,i 114; Pl. Facts ,i 114. The events that

followed Jane's complaint are what is most relevant for purposes of the pending motion. However,

to give context to the school's decision, a brief summary is helpful.

        Plaintiff and Jane met when they were both in high school, and they stayed in close contact

during freshmen year at their respective colleges. Def. Facts ,i,i 35--47; Pl. Facts ,i,i 35--47. After

their freshmen year, Plaintiff transfened schools to join Jane at NYU and specifically requested

(without Jane's knowledge) to be housed in her d01mitory. Def. Facts ,i,i 48-52 ; Pl. Facts ,i~ 48-

52. When Jane decided that she needed some space, and told Plaintiff as much, Plaintiff threatened

to harm himself and sent Jane over 100 unanswered messages. Def. Facts ~~ 53-58; Pl. Facts

,i~ 53-58. Plaintiff continued this tactic over time, refusing to leave Jane alone while making

threats of self-harm and threatening to give compromising information to Jane's parents and

friends as well. Def. Facts ~~ 60-61 , 77; Pl. Facts ~~ 60-61, 77. At some point during their

relationship, Plaintiff took photos of Jane without her consent while her shirt was off or partially

off, which Plaintiff supposedly used for his own sexual pleasure. Def. Facts ,i 59; Pl. Facts~ 59.


2
 The following facts are taken from the parties' Local Civil Rule 56.1 Statements, the affidavits and declarations
submitted in connection with the instant motion, and the exhibits attached thereto. The facts are undisputed unless
othetwise indicated.

3
  Judge Woods previously granted Plaintiffs motion to proceed pseudonymously because of the strong privacy
interests that he and Jane had in the subject matter of this case. [ECF No . 19].


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Things got so tense that in a heated argument in a stairwell, Jane punched Plaintiff when he leaned

in towards her, which she claimed to have done in self-defense. Def Facts ,i,i 99-101; Pl. Facts

,i,i 99-101.

        The list of inappropriate and unusual behavior by no means stopped there. However, for

the sake of brevity, there is one final act (or series of acts) worth noting. The day that Jane initially

reported Plaintiffs misconduct, NYU issued a no-contact directive to both Plaintiff and Jane. Def.

Facts ,i 117; Pl. Facts ,i 117. Plaintiff violated that directive within minutes of it being

implemented, and violated it repeatedly throughout the course of the investigation into his conduct.

Def. Facts ,i,i 117-23; Pl. Facts ,i,i 117-23. Jane described this behavior, along with the other

alleged misconduct, when she met with the Executive Director of NYU's Office of Equal

Oppottunity, Mary Signor, and confirmed her desire to file a formal complaint. Def. Facts ,i,i 30,

126-27; Pl. Facts ,i,i 30, 126-27.

        The same day that Jane confirmed her intent to go fo1ward with a fotmal complaint,

Plaintiff also met with Signor and another faculty member. Def Facts ,i,i 126-28; Pl. Facts ,i,i 126-

28 . At that time, Plaintiff described his relationship with Jane, including instances in which Jane

had allegedly abused him verbally and physically. Def. Facts ,i,i 33 , 126-30; Pl. Facts ,i,i 33, 126-

30. Plaintiff testified that Signor informed him that he could file a cross-complaint against Jane,

which would be handled at the end of any proceedings against him, but Plaintiff declined to do so.

Def. Facts ,i 131; Pl. Facts ,i 131; Def. Reply ,i 309.        Signor also advised Plaintiff that the

misconduct alleged by Jane could result in his expulsion. Def Facts ,i 132; Pl. Facts ,i 132.

        Thereafter, NYU Investigator Sam Hodge and another investigator interviewed Jane. Def.

Facts ,i 144; Pl. Facts ,i 144. After speaking with Jane, Hodge emailed Plaintiff to schedule an

interview, attaching to that email NYU's Sexual Misconduct, Relationship Violence, and Stalking



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Policy (the "Misconduct Policy"), which stated, among other things, that activities in violation of

the Misconduct Policy can include "disciplinary action, up to and including separation from

NYU." Metzler Deel. Ex. 1, Part A at PDF 37; see also Def. Facts ,r,r 1, 27, 148; Pl. Facts ,r,r 1,

27, 148. Hodge theri informed Plaintiff that he could select an "advisor of choice" to accompany

him to the interview, but also offered to have NYU connect Plaintiff with a "Respondent

Facilitator" who could serve as his advisor. 4 Def. Facts ,r,r 149-150; Pl. Facts ,r,r 149-150.

Plaintiff selected the latter option. Def. Facts ,r 153; Pl. Facts ,r 153.

        Plaintiffs Respondent Facilitator was Allen Mcfarlane. Def. Facts ,r 154; Pl. Facts ,r 154.

Plaintiff testified at his deposition that Mcfarlane assured him after first hearing the charges that

"under no circumstances would [Plaintiff] be expelled" for his alleged misconduct. Pl. Facts ,r 319;

Def. Facts Reply ,r 319. Shortly after this (supposed) promise was made, Plaintiff and McFarlane

met with Hodge and another Investigator for an interview. Def. Facts ,r,r 31 , 157; Pl. Facts

,r,r 31 , 157. During the interview, Plaintiff told the investigators, among other things, that Jane
had physically and verbally abused him. Pl. Facts ,r 304; Def. Reply Facts ,r 304. At the end of

the interview, Hodge informed Plaintiff of his right to file a cross-complaint, but Plaintiff (again)

elected not to do so. Pl. Facts ,r,r 161-62; Def. Reply Facts ,r 161.

        After interviewing both parties and several third-party witnesses, and after reviewing the

submitted evidence, Hodge sent a draft of the investigative report to Plaintiff and to Jane . Def.

Facts ,r,r 172-75; Pl. Facts ,r,r 172-75. Plaintiff testified in his deposition that Mcfarlane, after

reviewing the evidence in the draft report, repeated his statement that Plaintiff would not be

expelled for the alleged misconduct.              Lau Deel. , Ex. 3 ("Pl. Dep.") at 136:5-137:8.                  The

investigative report was finalized a few weeks later, after Plaintiff submitted additional responses


4
 Hodge's email also included a list of attorney referrals, but Plaintiff opted to not hire a lawyer at that time . Def.
Facts ,r 152; Pl. Facts ,r 152.

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and evidence. Def Facts ,i,i 176,183,189; Pl. Facts ,i,i 176,183,189. Thereafter, NYU held a

hearing on Jane's complaint, which was adjudicated by the Director of the Office of Student

Conduct, Craig Jolley. Def. Facts ,i,i 189, 191, 206-08; Pl. Facts ,i,i 189, 191, 206-08.

         The hearing did not go well for Plaintiff. Jolley ultimately found "overwhelming evidence

that the [Plaintiff] has engaged in an extended pattern of conduct that would cause a reasonable

person in the position of the Complainant to experience fear for their safety, substantial emotional

distress, significant mental suffering, and anguish. This behavior has included sexual harassment,

sexual exploitation and stalking as defined under the [Misconduct Policy]." 5 Metzler Deel., Ex. 2

("Hearing Decision") at 7; see also Def. Facts ,i 235; Pl. Facts ,i 235 . Based on "the totality of

circumstances, the threatening and excessive nature of the Respondent's conduct, the repeated and

blatant disregard of the University's no-contact directive, and most notably, the unsettling and

egregious pattern of stalking behaviors," Jolley sanctioned Plaintiff with expulsion and a transcript

notation. Hearing Decision at 7.

         Plaintiff hired a lawyer and asked for several extensions of his time to file an appeal, which

NYU granted. Def. Facts ,i,i 244--248; Pl. Facts ,i,i 244-248. His appeal invoked all three grounds

on which such an appeal could be based under the Misconduct Policy. Def. Facts ,i,i 28, 249-252;

Pl. Facts ,i,i 28, 249-252. Specifically, Plaintiff argued that there were numerous procedural errors

(such as the fact that the hearing did not investigate Plaintiff's allegations against Jane), that

previously unavailable relevant evidence could affect the outcome (such as even more text

messages between Plaintiff and Jane), and that the sanction was substantially disproportionate to




5 Jolley also found that there was not sufficient evidence to support a finding of sexual assault.
                                                                                               Def. Facts~ 236; Pl.
Facts ~ 236. Because there was no complaint against Jane, Jolley did not consider it to be his role to adjudicate
whether Jane, as opposed to Plaintiff, engaged in any violation of university policy, and so made no findings about
whether Jane had done so. Def. Facts~ 240; Pl. Facts~ 240.


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the violation. Def. Facts~~ 249-252; Pl. Facts~~ 249-252. 6 Plaintiffs appeal was considered by

a three-person panel, which reviewed all of the evidence submitted by the parties, including

Plaintiffs "new evidence." Def. Facts ~~ 254-255 ; Pl. Facts ~~ 254-255 . The panel denied

Plaintiffs appeal on Februaiy 26, 2019. Def Facts~~ 256; Pl. Facts~~ 256; see Metzler Deel. Ex.

76 (appeal decision).

        Months after his expulsion went into effect, Plaintiff filed a fonnal complaint against Jane.

Def. Facts~ 265; Pl. Facts~ 264. While the Misconduct Policy does not expressly prohibit NYU

from accepting complaints from fonner students, NYU declined to accept Plaintiffs complaint

because, according to Signor, NYU has "never accepted a complaint from an expelled student

against a cunent student." Metzler Deel. Ex. 5, ("Signor Dep.") at 188:20-189:9; see also Def.

Facts~ 266; Pl. ~ 266.

                                        PROCEDURAL HISTORY

        Plaintiff initiated this suit by filing a complaint against NYU, alleging four causes of action:

(1) violation of Title IX of the Education Amendments of 1972 ("Title IX"), 20 U.S.C. §§ 1681 et

seq., through selective enforcement of NYU's disciplinary process against Plaintiff; (2) violation

of Title IX based on the erroneous outcome of NYU's disciplinary proceedings; (3) violation of

the New York City Human Rights Law (the "NYCHRL"), N.Y. Admin Code§ 8-107 et seq.; and

(4) a common law promissory estoppel claim based on (i) McFarlane's statement that Plaintiff

would not be expelled and (ii) Signor's alleged statement that Plaintiff could file a Title IX

complaint against Jane once her complaint against him was resolved. [ECF No. 1] ("Compl.")

~~ 243-3 18. Each cause of action other than the one for promissory estoppel was rooted in a claim


of gender discrimination. Compl. ~~ 243-318 . Plaintiff later filed an amended complaint, the


6
 Although appeal statements are not supposed to be longer than three pages, NYU accepted the submission by Plaintiff
which greatly exceeded the limit. Def. Facts ,ii) 28, 255 ; Pl. Facts ir,i 28, 255 .

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operative complaint in this case, which contained the same causes of action. [ECF No . 27] ("AC").

Judge Woods dismissed at the pleadings stage the promissory estoppel claim that Plaintiff had

raised based on comments by Signor, but otherwise allowed Plaintiffs claims (including the

promissory estoppel claim based on McFarlane's statement) to proceed. [ECF No . 40].

       Pending before the Court is a motion by NYU for summary judgment on all remaining

claims. [ECF No . 85]. NYU argues that no reasonable jury could find that NYU' s actions were

motivated by gender, as necessary to support Plaintiffs Title IX and NYCHRL claims . See Def.

Br. at 12-25.   NYU further argues that Plaintiffs promissory estoppel claim fails because

McFarlane's statement was not a promise, Plaintiffs reliance on the statement was unreasonable,

and Plaintiff had not been injured by the statement. Plaintiff opposed the motion [ECF No. 99]

and NYU replied [ECF No . 112].

       After the summary judgment motion was fully briefed, this case was reassigned from Judge

Woods to this Court.

                                     LEGAL STANDARD

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment should be

granted only "if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a) . The moving party bears

the initial burden of demonstrating the absence of a dispute. See Celotex Corp. v. Catrett, 4 77

U.S. 317, 323 (1986). The court "may not make credibility detenninations or weigh the evidence."

Jaegly v. Couch, 439 F.3d 149, 151 (2d Cir. 2006) . The court "must resolve all ambiguities and

draw all permissible inferences in favor of the non-moving party." Id. If there is evidence in the

record that supports a reasonable inference in favor of the opposing party, summary judgment is




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nnproper. See Brooklyn Ctr. For Indep. of the Disabled v. Metro. Transportation Auth. , 11 F.4th

55 , 64 (2d Cir. 2021) .

                                            DISCUSSION

  I.    TITLE IX CLAIMS

        Title IX provides that "[ n]o person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance." 20 U.S.C. § 1681(a).

In the context of university discipline, the Second Circuit has recognized two categories of Title

IX claims: (1) claims of an erroneous outcome from a flawed proceeding, and (2) claims of

selective enforcement. See Yusufv. Vassar Coll., 35 F.3d 709, 714--16 (2d Cir. 1994); see also

Scott v. WorldstarHipHop, Inc. , No. 10-cv-9538, 2011 WL 5082410, at *4 (S.D.N.Y. Oc. 25 ,

2011) . "In the former case, a party asse1is that he or she was innocent and wrongly found to have

committed the offense; in the latter case, a party asse1is that, regardless of guilt, the severity of the

penalty was affected by the student ' s gender." Scott, No. 10-cv-9538, 2011 WL 5082410, at *4.

Plaintiff brings claims of both selective enforcement and an enoneous outcome.

        The Court analyzes these Title IX claims using the same McDonnell Douglas burden-

shifting framework that generally guides its analysis of discrimination claims brought under Title

VII. See Radwan v. Man uel, 55 F.4th 101 , 130 (2d Cir. 2022). The Plaintiff must first establish a

prima facie case by showing that he "is a member of a protected class, [he] was qualified for [his]

position, [he] suffered an adverse action, and the facts imply a discriminatory intent." Id. If

Plaintiff makes out his prima facie case, the burden shifts to the defendant "to proffer a legitimate




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non-discriminatory reason for the adverse action, and then finally, the plaintiff may rebut this

reason by demonstrating pretext." Id.

         Here, it is not disputed that Plaintiff has established the first three elements, and as such

Plaintiff can make out a prima facie case of discrimination if he can show that the facts imply a

discriminatory intent. The Second Circuit has explained that "discriminatory intent can be shown

by either direct evidence of discriminatory animus or circumstantial evidence of such animus,

including by showing disparate treatment among similarly situated" individuals .7 Radwan, 55

F.4th at 132. To establish circumstantial evidence of gender-based discrimination through an

analysis of similarly situated persons, Plaintiff must show that NYU treated more favorably a

female student who was "similarly situated to the plaintiff in all material respects. " 8 Id. (quoting

Ruiz v. County of Rockland, 609 F.3d 486,494 (2d Cir. 2010)).

         Plaintiff begins by comparing himself to Jane. Plaintiff contends that he and Jane are

similarly situated because they were both NYU students who reported being in an abusive

relationship . Plaintiff claims that, despite these similarities, NYU treated Jane more favorably

than it treated him by investigating her claims while his claims were ignored. Plaintiff is mistaken.

He and Jane were not similarly situated while they were students at NYU because, although they


7
  In Radwan, the Second Circuit noted that it has not yet decided whether, for liability to attach, gender bias under
Title IX must be a mere "motivating factor in the decision to discipline," or whether the statute instead dictates that
liability exists only if an improper disciplinary decision would not have been made "but-for" the gender bias. 55 F .4th
at 131- 32 (quoting Yusuf v. Vassar Coll. , 35 F.3d 709, 715 (2d Cir. 1994)). The Court need not decide that issue,
however, because Plaintiff has not proffered any evidence tending to show that gender bias was either a motivating
factor or a but-for factor of Defendant's decision to discipline Plaintiff.

8
  The parties seem to assume that a selective enforcement claim cannot succeed unless Plaintiff can demonstrate that
NYU treated a similarly situated female student more favorably. See Def. Br. at 12; Opp. at 4. This is understandable,
given that "courts in this circuit have consistently dismissed selective enforcement claims absent allegations that a
school treated similarly situated members of the opposite sex-that is , members of the opposite sex facing comparable
disciplinary charges-differently." Doe v. New York Univ. , 438 F. Supp. 3d 172, 182 (S.D.N.Y. 2020) (internal
quotation marks omitted) . However, the Second Circuit's recent decision in Radwan (which was decided after briefing
in this case had completed) makes clear that disparate treatment of similarly situated members of the opposite sex is
one way, but not the only way, to demonstrate discriminatory intent. See 55 F.4th at 132.


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both complained (in the colloquial sense) of abuse by the other, Jane was the only one to file a

formal complaint. Plaintiff was repeatedly told he could file a complaint (see Def. Reply 11 131,

161-62), but he opted not to do so throughout the investigation, hearing, dete1mination and appeal

of Jane's complaint. It is true, of course, that Plaintiff did eventually file a fonnal complaint as

well. But Plaintiff did not file a complaint until seven months after he had been expelled. Plaintiff

and Jane were not similarly situated at that time either because he already had been expelled and

thus was no longer a student at the university when he decided to file a formal complaint. So while

NYU did treat Plaintiff and Jane differently, the two individuals were, at all relevant times,

different in material ways.

         In an attempt to avoid this manifest disparity, Plaintiff argues that he would have filed a

formal complaint while a student (and thus would have been similarly situated to Jane) if he had

not been told that his complaint would be considered only after Jane's complaint had been

resolved. Pl. Facts 1 131 ; Metzler Deel., Ex. 10 ("Pl. Dep.") at 87:20-25 . But this explanation,

even assuming it true, does not change the analysis. 9 Simply "showing that the university had an

unwritten, race-to-the-dean's-office policy . . . is not enough to support an inference of

discrimination on the basis of sex." Haidak v. Univ. of Mass.-Amherst, 933 F.3d 56, 74 (1st Cir.

2019). In fact, Plaintiffs allegation on this score cuts against his bias argument, as it tends to show




9
 NYU points out that Plaintiff had previously explained in an email that he chose not to file a cross-complaint because
he "did not want to distress Jane." Def. Facts ~ 131; see also Metzler Deel., Ex. 33. At this stage of the proceedings,
the Court draws every reasonable inference in Plaintiffs favor and thus credits his testimony with respect to his
motivation for not filing a timely complaint. See MA. ex rel. H.R. v. Rockland Cnty. Dep 't of Health, 53 F .4th 29, 35
(2d Cir. 2022).
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"that the university pursued [Jane's] case instead of his because [she] made the allegation first-

not because [Plaintiffs gender] influenced the university." 10 Id.

         In a search for other evidence of supposed gender-based animus, Plaintiff next pivots to

other students charged with misconduct. He points to a spreadsheet compiled by NYU that appears

to show that some females students at the university received more lenient sanctions than some

males for engaging in the same general categories of misconduct (e.g. , Relationship Violence or

Sexual Harassment). Lau Deel., Ex. 4. But categories of misconduct can encompass a broad range

of conduct with varying degrees of seriousness. And it is easy to cheny-pick out of a single broad

category one female student and one male student who received different sanctions. The real

problem is that Plaintiff "makes no effort to account for nondiscriminatory explanations of the

disparity" in sanctions, such as the different facts of specific cases. Bickerstaff v. Vassar Coll. ,

196 F.3d 435, 450 (2d Cir. 1999). Without even "attempting to control for such other causes,"

Plaintiffs assumption that gender bias affected the sanctions is "untenable." Id. ; see also Doe v.

Univ. of Denver, 952 F.3d 1182, 1193-94 (10th Cir. 2020) ("When the statistical evidence does

nothing to eliminate these obvious, alternative explanations for the disparity, an inference that the

disparity arises from gender bias on the part of the school is not reasonable"). 11


10
  Plaintiff suggests that bias is demonstrated by "NYU ' s decision to sua sponte increase the number of charges against
Plaintiff while failing to pursue any action against Jane." Opp. at I 2. It appears that what Plaintiff refers to as sua
sponte adding claims means simply accounting for misconduct uncovered during the investigation. But in any event,
Plaintiff fails to present any evidence that the alleged sua sponte increase was motivated by Plaintiffs gender rather
than by his conduct uncovered during NYU's investigatory process. While Jane may not have filed a formal complaint
with respect to the added charges, a formal complaint had been filed and the additional charges followed from the
investigation into that complaint.

11
   Plaintiff also highlights the " lenient sanction" NYU imposed on a high-profile female professor accused of sexual
harassment to suggest that NYU bowed to public pressure to treat a female more favorably than it would have treated
a similarly situated hypothetical male. Opp. at 17. This is purely speculation. Plaintiff does not identify a similarly
situated male professor who was subject to different or worse treatment. Nor does Plaintiff identify any evidence to
suggest that NYU considered public pressure in determining the relevant sanction in that case. And, of course, that
case is not the same as Jane ' s complaint against Plaintiff, which was resolved based on its unique facts. Plaintiff has
thus failed to present facts that imply that NYU acted with gender bias in other cases-let alone facts that suggest it
did so in this case.

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       Finally, Plaintiff points to a presentation titled "The Art of working with Sexual

Misconduct Respondents," delivered by the Assistant Director of the Office of Student Conduct at

NYU, Colleen Maeder. Lau Deel., Ex. 17. In the notes section of this presentation there is a

header for "[t]hings I've heard from colleagues : Negative Stereotypes." Lau Deel. , Ex. 17 at PDF

31 . Under this header, there are certain statements-such as "[k ]ick him out" and "[i]f he has an

attorney, it's a sign of guilt"- that Plaintiff suggests could be evidence of gender animus against

him . Lau Deel. , Ex. 17 at PDF 31; see also Def. Reply Facts,, 341-43. But these statements do

not move the needle in Plaintiffs favor. For one thing, the header of this slide refeITed to "Negative

Stereotypes," which suggests that these are stereotypes that one should avoid. Moreover, Maeder

testified at her deposition that she did not hear these comments from colleagues at NYU, but rather

that these were general "stories" from "people across the country who work in the profession."

Metzler Deel., Ex. 85 ("Maeder Dep.") at 96:8-20. Plaintiff has offered no evidence to rebut that

testimony. As such, this presentation does not suggest that anyone at NYU (let alone anyone

involved in Plaintiffs proceedings) had discriminatory intent.

       At bottom, Plaintiff has pointed to no evidence that plausibly would support his claim that

gender played a role, much less a discriminatory role, in the treatment of Jane's complaint and

Plaintiffs post-expulsion complaint.      As such, he fails to make out a prima facie gender

discrimination case of either selective enforcement or erroneous outcome, and NYU is entitled to

summary judgment on the Title IX claims.

 II.   STATE AND CITY LAW CLAIMS

       Although Plaintiff has no federal claim that survives summary judgment, his state and city

law claims arise from the same facts and rely on the same evidence as his federal claims, and as a

result, this Court retains discretion to exercise supplemental jurisdiction over those claims. See 28

U.S.C. § 1367(a); Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc., 373 F .3d 296, 308 (2d Cir. 2004)

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(noting that supplemental jurisdiction exists where pendent claims share a "common nucleus of

operative fact" with federal claims) (internal quotation marks omitted)). Given the substantial

resources already expended by the parties in developing, and the Court in reviewing, the

voluminous factual record and the numerous legal arguments in this case, the Court ' s exercise of

supplemental jurisdiction over Plaintiffs pendent claims is wainnted. See Motorola Credit Co,p.

v. Uzan, 388 F.3d 39, 56 (2d Cir. 2004) .

        A. NYCHRL CLAIM

        To plead a discrimination claim under the NYCHRL, a plaintiff must allege only that he

was "treated less well ... because of a discriminatory intent." 12 Syeed v. Bloomberg L.P. , 568 F.

Supp. 3d 314, 321 (S. D.N.Y. 2021). While courts have considered the NYCHRL standard to be

more "liberal than the corresponding federal and state law standards," id. , "it still requires a

showing of some evidence from which discrimination can be inferred," Ben-Levy v. Bloomberg,

L.P., 518 F. App'x 17, 20 (2d Cir. 2013) (emphasis added). Here, Plaintiffs NYCHRL claim is

"indistinguishable from" his Title IX claims because, for the reasons stated above, he "fails to

point to any evidence from which a reasonable jury could conclude that [NYU] was motivated by

discrimination." Id. (emphasis added). Accordingly, Plaintiffs city law claim must fail too.

        B. Promissory Estoppel Claim

         Plaintiff brings a common law claim of promissory estoppel based on the alleged promise

by his Respondent Facilitator, Allen Mcfarlane, that Plaintiff would not be expelled based on the

misconduct alleged in Jane's complaint. 13 Plaintiff claims that he relied on this promise in


12
   While the NYCHRL has traditionally been applied in the employment context, the parties do not dispute that it
properly applies in the educational context as well. The Court need not resolve this question, however, given that
Plaintiff cannot prevail on his NYCHRL claim even assuming NYCHRL applies in the context of education discipline.

13
   Plaintiffs complaint also contains allegations, within his promiss01y estoppel claim, that NYU breached express
and implied promises to him . AC ,r,r 509-11. But this argument is waived because Plaintiff entirely failed to respond
in its briefing to NYU's argument that it did not break any express or implied promises. See Def. Br. at 24; Arista

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deciding not to hire counsel to defend him, and that his expulsion was a direct consequence of this

decision to not vigorously defend himself.

        A promissory estoppel claim brought under New York law has three elements: "[ 1] a clear

and unambiguous promise; [2] a reasonable and foreseeable reliance by the party to whom the

promise is made, and (3] an injury sustained by the party asserting the estoppel by reason of the

reliance." Cacchillo v. Insmed, Inc. , 551 F. App'x 592, 594 (2d Cir. 2014) (quoting Cyberchron

Corp. v. Calldata Sys. Dev., Inc., 47 F.3d 39, 44 (2d Cir. 1995)).

        Plaintiffs claim has no merit. Even assuming Mcfarlane made a clear and unambiguous

promise, and that Plaintiff was injured because of his reliance on that promise (both dubious

propositions), Plaintiff's claim must fail because he cannot demonstrate that his reliance was

reasonable.    The potential consequences were clear.              On multiple occasions, NYU provided

Plaintiff with a copy of the Misconduct Policy, which clearly stated that violations of that policy

could result in "disciplinary action, up to and including separation from NYU." Metzler Deel. Ex.

1, Part A at PDF 37. Plaintiff testified that he had reviewed the Misconduct Policy, and that he

was aware that expulsion was a possible sanction. Lau Deel. Ex. 3 ("Pl. Dep.") at 110:15-11:14.

        In addition, the Misconduct Policy stated that Mary Signor was "charged with monitoring

compliance with Title IX; providing education training and notifications; overseeing complaints;

and coordinating NYU's investigation, response, and resolution of all reports under this policy."

Metzler Deel. Ex. 1, Part A at PDF 3 7. It is undisputed that Plaintiff was told during his initial

meeting with Signor that he could be expelled based on the allegations in Jane's complaint. Def.

Facts ,i 132; Pl. Facts ,i 132. Signor later expressed the same potential outcome in a phone call




Recs., LLC v. Tkach , 122 F. Supp. 3d 32, 39 (S.D.N.Y. 2015) (a plaintiff"waives" a claim where he fails to "oppose
specific arguments" about that issue "in a motion to dismiss" (internal quotation marks omitted)).


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with Plaintiffs mother, when Signor explained that Plaintiff being expelled would be the worst-

case scenario. Def. Facts 1 147; Pl. Facts 1147.

       It simply was not reasonable for Plaintiff to rely on statements made by Mcfarlane that

were in direct conflict with what Signor had told Plaintiff as early as their very first meeting.

Mcfarlane was Plaintiffs appointed advisor, who had no role in adjudicating the facts of the case

or in determining a sanction. Plaintiff, according to his own deposition testimony, understood

McFarlane's limited role from the beginning. Metzler Deel., Ex. 10 ("Pl. Dep.") at 119:22-120: 18

("I did not think my advisor would make a determination on the sanctions .. . ."). McFarlane's

only role was to give advice.

       Plaintiff now claims that the advice given, or the prediction made, was bad or misleading.

But to the extent that any prediction made with respect to possible sanctions could be interpreted

as a promise, it was not a promise upon which it was reasonable to rely. Given the respective roles

of Signor and Mcfarlane (and Plaintiffs knowledge of these roles), any supposed reliance on

statements by Mcfarlane was, as a matter of law, not reasonable. A person cannot reasonably rely

on a promise made by someone who has no authority to make the promise or any ability to keep

it. See Oppman v. IRMC Holdings, Inc., 14 Misc.3d 1219(A), 836 N.Y.S.2d 494 (N.Y. Sup. Ct.

2007) ("The First Department has found it neither reasonable, nor foreseeable, for plaintiff to rely

on a promise, where the individuals purportedly making the promise lacked sufficient control over

whether such promises would be honored." (citation omitted)). In light of the undisputed fact that

McFarlane's purported promise conflicted with the information provided by the written

Misconduct Policy and by Signor herself, Plaintiff should have known better than to rely on it.

       Accordingly, Plaintiff's remaining promissory estoppel claim fails, and NYU is entitled to

summary judgment.



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                                       CONCLUSION

       For the reasons stated above, Defendant's motion for summa1y judgment is GRANTED in

its entirety. The Clerk of Comi respectfully is requested to tenninate the motion pending at ECF

No. 85, enter judgment for NYU, and close the case.



       SO ORDERED.

 Dated: August 17, 2023
 New York, New York




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JOHN DOE,

                                   Plaintiff,                         20 CIVIL 1343 (MKV)

                 -against-                                               JUDGMENT
NEW YORK UNIVERSITY.

                                   Defendant.
-----------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated August 17, 2023 , Defendant's motion for summary

judgment is GRANTED in its entirety; accordingly, the case is closed.


Dated: New York, New York
       August 18, 2023


                                                                      RUBY J. KRAJICK

                                                                         Clerk of Court

                                                                BY:

                                                                         Deputy Clerk
